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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

IN RE: PASSENGER VEHICLE                   Case No. 5:24-md-3107
REPLACEMENT TIRES ANTITRUST
LITIGATION                                 MDL No. 3107

This Document Applies to:                  CHIEF JUDGE SARA LIOI

Automobile Dealership and Other Reseller
Plaintiffs (“ADPs”)


      AUTOMOBILE DEALERSHIP AND OTHER RESELLER PLAINTIFFS’
            CONSOLIDATED CLASS ACTION COMPLAINT
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          Plaintiffs Martin-Landers LLC dba Mark Martin Ford; Martin-Landers Imports LLC dba

Mark Martin Kia; Northside Automotive & Fleet LLC; and Worldwide Auto Repair Ltd.

individually and on behalf of all others similarly situated, brings this Class Action Complaint for

damages and injunctive relief against named Defendants Continental Aktiengesellschaft;

Continental Tire the Americas, LLC; Compagnie Générale des Établissements; Michelin North

America, Inc.; Nokian Tyres plc; Nokian Tyres Inc.; Nokian Tyres U.S. Operations LLC; The

Goodyear Tire & Rubber Company; Pirelli & C. S.p.A.; Pirelli Tire LLC; Bridgestone

Corporation; Bridgestone Americas, Inc. for violations of Section 1 of the Sherman Act (15 U.S.C.

§ 1) and violations of various state antitrust laws. All allegations other than those concerning

Plaintiffs are based on information and belief.

    I.    INTRODUCTION

          1.     This action arises from a per se unlawful agreement between Defendants—some of

the largest tire manufacturers in the United States and the world—to artificially increase and fix

the prices of new replacement tires for passenger cars, vans, trucks, and buses (“Tires” or

“Replacement Tires”) sold in the United States. Defendants coordinated price increases, including

through public communications.

          2.     On January 30, 2024, the European Commission (“EC”) announced dawn raids at

the premises of “companies active in the tyres industry in several Member States.”1 The EC

justified its dawn raids over suspicion that these companies “violated EU antitrust rules that




1
 Commission carries out unannounced antitrust inspections in the tyres sector, European
Commission (Jan. 30, 2024), https://ec.europa.eu/commission/presscorner/detail/en/ip_24_561.


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prohibit cartels and restrictive business practices,” specifically that price coordination took place

among these companies.2

           3.     Defendants’ unlawful agreement to fix prices of Tires is evidenced by, among other

things: (i) Defendants’ sudden and dramatic parallel price increases, which absent a conspiracy to

fix prices, ran contrary to their economic interests; (ii) EC dawn raids of Defendants; (iii) the high

level of market concentration in the Tires market; (iv) significant barriers to entry; (v) lack of

economic substitutes for Tires; (vi) standardization of Tires with a high degree of

interchangeability; and (vii) the many opportunities that Defendants’ employees had to conspire

with one another to fix prices of Tires, coupled with their motivation to achieve an unlawful end.

           4.     Plaintiffs seek to represent a Class of individuals and entities that purchased Tires

indirectly from Defendants at supra-competitive prices to recover damages, injunctive relief, and

other relief as is appropriate, based on Defendants’ violation of federal and state antitrust laws.

Plaintiffs demand a trial by jury.

II.        PARTIES

           A.     PLAINTIFFS

           5.     Plaintiff Martin-Landers LLC dba Mark Martin Ford is an Arkansas limited

liability company located at 1601 Batesville Blvd., Batesville, AR 72501. Plaintiff Martin-Landers

LLC purchased Tires manufactured by one or more of Defendants within the State of Arkansas

during the Class Period defined below, and Plaintiff Martin-Landers LLC suffered antitrust injury

as a result of the violations alleged in this complaint.

           6.     Plaintiff Martin-Landers Imports LLC dba Mark Martin Kia is an Arkansas limited

liability company located at 1601 Batesville Blvd., Batesville, AR 72501. Plaintiff Martin-Landers


2
    Id.


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Imports LLC purchased Tires manufactured by one or more of Defendants within the State of

Arkansas during the Class Period defined below, and Plaintiff Martin-Landers Imports suffered

antitrust injury as a result of the violations alleged in this complaint.

        7.      Plaintiff Northside Automotive & Fleet LLC is a Wisconsin limited liability

company located at 229 Milwaukee Street, La Crosse, WI 54603. Plaintiff Northside Automotive

LLC purchased Tires manufactured by one or more of Defendants within the State of Wisconsin

during the Class Period defined below, and Plaintiff Northside Automotive & Fleet LLC suffered

antitrust injury as a result of the violations alleged in this complaint.

        8.      Plaintiff Worldwide Auto Repair Ltd. is a New York corporation located at 1000

Jericho Turnpike, Huntington Station, NY 11746. Plaintiff Worldwide Auto Repair Ltd. purchased

Tires manufactured by one or more of Defendants within the State of New York during the Class

Period defined below, and Plaintiff Worldwide Auto Repair Ltd. suffered antitrust injury as a result

of the violation alleged in this complaint.

        B.      DEFENDANTS

                1. Continental

        9.      Defendant Continental Aktiengesellschaft (“Continental AG),” is a German

company with its headquarters at Vahrenwalder Strasse 9, 30165 Hannover, Germany. Continental

AG is divided into four group sectors: Automotive, Tires, ContiTech, and Contract




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Manufacturing.3 The Tires group has five business areas: (i) Original Equipment, (ii) Replacement

APAC, (iii) Replacement EMEA, (iv) Replacement the Americas, and (iv) Specialty Tires.4

           10.   In its 2022 Annual Report, Continental AG reported that its “Tires group sector

achieved a particularly positive result, even surpassing expectations with an adjusted EBIT margin

of 13.1 percent.”5 In 2022, Continental AG reported sales of €14 billion globally for its tire group.6

Continental AG’s tire group boasts 56,987 employees worldwide.7

           11.   In the Tires group sector, sales to dealers and end users represent the largest share

of the tire-replacement business.8 For the Tires group sector, economies of scale are important

drivers of profitability. For that reason, “manufacturing takes place at major locations in the

dominant automotive markets, namely Europe, the U.S., and China.”9

           12.   Defendant Continental Tire the Americas, LLC (“Continental U.S.”) is a limited

liability company incorporated under Ohio law, with its principal place of business at 1830

MacMillian Park Drive, Fort Mill, SC 29707. Continental U.S. “manufactures and distributes a

complete premium line of passenger, light truck and commercial tires for original equipment and




3
   Continental Group, 2022 Annual Report, at 3,
https://cdn.continental.com/fileadmin/__imported/sites/corporate/_international/english/hubpage
s/30_20investors/30_20reports/annual_20reports/downloads/continental_annual_report_2022.pd
f.
4
    Id. at 27.
5
    Id. at 4.
6
    Id. at 75.
7
    Id. at 76.
8
    Id. at 26.
9
    Id. at 28.


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replacement markets.”10 Continental US sells its tires through “independent tire dealers, car

dealers, and mass retail companies across North America.”11 Continental U.S. has manufacturing

facilities in Barnseville, Georgia (Tire Cord [textile]), Mt. Vernon, Illinois (Passenger/light

truck/Commercial truck tires), Sumter, South Carolina (passenger/light truck tires), and Jackson,

Missouri (commercial truck tires).12

            13.    Continental U.S.’s headquarters in Fort Mill, SC is the “operational hub for

business in the region and oversees all tire product lines including passenger, light truck,

commercial, two wheel and specialty tires.”13 The facility has 500+ employees and includes teams

for Engineering & Technology, Sales & Marketing, and “Central Functions.”14

            14.    Continental U.S.’s Sumter Plant is “a tire manufacturing facility [that] produces

high-quality, premium lines of passenger and light truck tires for original equipment and

replacement markets.”15 It has a “State of the Art manufacturing facility with a growing team of

more than 1200 employees.”16




10
   Members: Continental Tire the Americas, LLC, U.S. Tire Manufacturers Ass’n,
https://www.ustires.org/continental-tire-americas-llc.
11
     Id.
12
     Id.
13
  Fort Mill, SC, Continental AG (2024), https://www.continental.com/en-us/career/our-
locations/fort-mill/.
14
     Id.
15
  Sumter, SC, Continental AG (2024), https://www.continental.com/en-us/career/our-
locations/sumter/.
16
     Id.


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                   2. Michelin

            15.    Defendant Compagnie Générale des Établissements (“CGEM”) is organized

under the laws of France with its principal place of business at 23 place des Carmes-Déchaux,

63000 Clermont-Ferrand, France. CGEM is the Michelin Group’s parent company, which directly

or indirectly owns all of its subsidiaries.17 CGEM’s two main subsidiaries are Manufacture

Française des Pneumatiques Michelin (“MFPM”), a wholly-owned subsidiary that coordinates all

of the Group’s manufacturing, sales and research operations in France and Compagnie Financière

Michelin (“CFM”), a wholly-owned subsidiary that owns most of the Group’s manufacturing,

sales and research companies outside of France and coordinates their operations.18

            16.    Defendant Michelin North America, Inc. is a corporation organized under New

York law with its principal place of business at One Parkway South, Greenville, SC 29615-5022.

Michelin designs, manufactures, and sells tires for every type of vehicle, including airplanes,

automobiles, bicycles, earthmovers, farm equipment, and heavy-duty trucks.19 Michelin is one of

the leading manufacturers of tires in the United States. In 2022, Michelin had €10.92 billion in

sales North America, 80% of which were generated in the United States.20 Michelin employs

23,000 people across 34 plants in the United States and Canada.21 Michelin has manufacturing


17
   CGEM, 2022 Universal Registration Document at 403,
https://www.michelin.com/en/documents/2022-universal-registration-document/.
18
     Id.
19
  Members: Michelin, U.S. Tire Manufacturers Ass’n, https://www.ustires.org/michelin-north-
america-inc.
20
   CGEM, 2022 Universal Registration Document at 344,
https://www.michelin.com/en/documents/2022-universal-registration-document/.
21
   Michelin North America Fact Sheet 2023, Michelin North America, Inc.,
https://michelinmedia.com/site/user/files/1/MNA-Fact-Sheet-2023_2.pdf.


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facilities in, among others, Alabama (light trucks and passenger tires), Indiana (car tires),

Oklahoma (passenger tires), and South Carolina (passenger tires and truck and bus tires).

               3. Nokian Tyres

       17.     Defendant Nokian Tyres plc is organized under the laws of Finland with its

principal place of business at Pirkkalaistie 7, P.O. Box 20, 37101 Nokia, Finland. Nokian Tyres

plc is the parent company of the Nokian Tyres Group, which includes subsidiaries worldwide.

Nokian Tyres plc develops and manufactures tires for passenger cars, trucks, and heavy machinery.

In 2019, the company’s net sales were $1.8 billion, and it employed some 4,700 people.

       18.     Defendant Nokian Tyres Inc. is a corporation organized under Delaware law. It

is a fully owned subsidiary of Nokian Tyres U.S. Holdings Inc., and an indirect subsidiary of

Nokian Tyres plc. In December 2018, Nokia Tyres announced its new headquarters located at 501

Union Street in Nashville, Tennessee, which would house Nokia Tyres’ Vice President along with

members of the company’s sales, customer service, IT, logistics, finance, and marketing teams.22

In 2017, Nokian Tyres announced it had opened a $360 million manufacturing facility located at

520 Nokian Tyres Dr., Dayton, TN., 37321.23 The manufacturing facility produces car and light

truck all season tires and all-weather tires for consumers in the United States and Canada.

       19.     Defendant Nokian Tyres U.S. Operations LLC is a limited liability company

organized under Tennessee law. It is a fully owned subsidiary of Nokian Tyres U.S. Holdings Inc.,

and an indirect subsidiary of Nokian Tyres plc.


22
  Wes Boiling, Nokian Tyres Thriving in New Nashville Headquaters, Nokian Tyres plc (Dec.
12, 2018), https://www.nokiantires.com/company/news-article/nokian-tyres-thriving-in-new-
nashville-headquarters/.
23
  Associate Press, Nokian Tyres opens $360M tire factory in Tennessee, The Journal Record
(Oct. 3, 2019), https://journalrecord.com/2019/10/nokian-tyres-opens-360m-tire-factory-in-
tennessee/.


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                 4. Goodyear

           20.   Defendant The Goodyear Tire & Rubber Company is a corporation organized

under Ohio law with its principal place of business at 200 Innovation Way Akron, Ohio 44316-

0001. Goodyear is one of the world’s leading tire companies, with one of the most recognizable

brand names. It develops, manufactures, markets and distributes tires for most applications and

manufactures and markets rubber-related chemicals for various uses.24 Through its worldwide

network of aligned dealers and wholesale distributors and its own retail outlets and commercial

truck centers, Goodyear offers its products for sale to consumer and commercial customers, along

with repair and other services.25 Goodyear manufactures its products in 57 facilities in 23 countries

and has operations in most regions of the world.26 Goodyear manufactures and sells under the

Goodyear, Cooper, Dunlop, Kelly, Debica, Sava, Fulda, Mastercraft and Roadmaster brands.27

Approximately 86% of Goodyear’s sales in 2022, 85% in 2021 and 84% in 2020 were for tire

units.28 The principal channel for the sale of Goodyear and Cooper brand tires in Americas is a

large network of independent dealers. Goodyear, Cooper, Dunlop, Kelly and Mastercraft brand

tires are also sold to numerous national and regional retailers, in Goodyear Company-owned stores

in the United States, and through the wholesale channel, including through TireHub, LLC,




24
     The Goodyear Tire & Rubber Co., 2022 Annual Report, 2 (Feb. 14, 2023).
25
     Id.
26
     Id.
27
     The Goodyear Tire & Rubber Co., 2022 Annual Report, 2 (Feb. 14, 2023).
28
     The Goodyear Tire & Rubber Co., 2022 Annual Report (Form 10-K), 2 (Feb. 14, 2023).


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Goodyear’s national wholesale tire distributor in the United States, and a network of aligned U.S.

regional wholesale tire distributors.29

                 5. Pirelli

           21.   Defendant Pirelli & C. S.p.A. is organized under the laws of Italy with its principal

place of business at Via Bicocca degli Arcimboldi, 3, 20126 Milano MI, Italy. Pirelli designs,

manufactures, and distributes tires for cars, motorcycles, and bicycles. Pirelli focuses its business

on the high end, premium product segment where it is a world leader. Pirelli has a commercial

presence in over 160 countries and 19 manufacturing sites in 12 countries.30

           22.   Defendant Pirelli Tire LLC is a foreign limited liability company organized under

Delaware law with its principal place of business located at 100 Pirelli Drive Rome, GA 30161.

Pirelli Tire LLC includes the Modular Integrated Robotized System (MIRS) facility and research

and development center at its Rome, Georgia headquarters, a state-of-the-art manufacturing plant

in Silao, Mexico, sales and marketing offices in New York City, Los Angeles, Detroit, Montreal

and Atlanta, and a prestige flagship store in Los Angeles.31 The company manufactures,

distributes, and markets original equipment and replacement tires for export and domestic

car/motorcycle applications.

                 6. Bridgestone

           23.   Defendant Bridgestone Corporation is organized under the laws of Japan with its

principal place of business at 1-1, Kyobashi 3-chome, Chuo-ku, Tokyo 104-8340. Bridgestone

Corporation is the parent corporation of the Bridgestone Group (the “Group”), which refers to all


29
     Id. at 3.
30
     Members: Pirelli, U.S. Tire Manufacturers Ass’n, https://www.ustires.org/pirelli-tire-llc.
31
     Id.


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Group companies, including Bridgestone Americas (“BSAM”), Bridgestone China, Asia Pacific

(“BSCAP”), Bridgestone Europe, Russia, Middle East, India, and Africa (“BSEMIA”), and

Bridgestone Japan (“BSJP”).32 Bridgestone Corporation is the world’s largest tire and rubber

company.33

           24.   Defendant Bridgestone Americas, Inc. (“BSAM”) is incorporated under Nevada

law with its principal place of business at 200 4th Ave, Suite 100, Nashville, Tennessee, 37201-

2256. BSAM and its subsidiaries develop, manufacture, and market a wide range of Bridgestone,

Firestone, and associate brand tires to address the needs of a broad range of customers, including

consumers, automotive and commercial vehicle original equipment manufacturers, and those in

the agricultural, forestry and mining industries.34 BSAM has U.S. manufacturing facilities in

Arkansas, Georgia, Iowa, Illinois, North Carolina, Ohio, South Carolina, Tennessee, and Texas.35

Defendant BSAM also owns Firestone Tire and Rubber Company, which operates twenty

commercial retailers in Michigan and hundreds nationwide.

III.       AGENTS AND CO-CONSPIRATORS

           25.   The anticompetitive and unlawful acts alleged against Defendants in this Complaint

were authorized, ordered, or performed by Defendants’ officers, agents, employees, or

representatives, while engaged in the management, direction, or control of Defendants’ businesses

or affairs.


32
   Bridgestone Corp., 2023 Integrated Report at 3,
https://www.bridgestone.com/ir/library/integrated_report/pdf/2023/ir2023_single.pdf.
33
   Members: Bridgestone Americas, Inc,, U.S. Tire Manufacturers Ass’n,
https://www.ustires.org/bridgestone-americas-inc.
34
     Id.
35
     Id.


                                                 13
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        26.     Each corporate Defendants’ agents operated under the authority and apparent

authority of its principals.

        27.     Each corporate Defendant, through its subsidiaries, affiliates, and agents, operated

as a single unified entity.

        28.     Various persons and/or firms not named as Defendants here may have participated

as co-conspirators in the violations alleged here and may have performed acts and made statements

in furtherance thereof.

        29.     Each Defendant acted as the principal or agent of, or for, other Defendants with

respect to the acts, violations, and common course of conduct alleged herein.

        30.     When Plaintiffs refer to a corporate family or companies by a single name in their

allegations of participation in the conspiracy, it is to be understood that Plaintiffs are alleging that

one or more employee or agent of entities within the corporate family engaged in conspiratorial

acts or meetings on behalf of all the Defendant companies within that family. Furthermore, if

subsidiaries within corporate families distributed the Tire products discussed in this Complaint,

these subsidiaries played a significant role in the conspiracy because Defendants wished to ensure

that the prices paid for such products would not undercut their pricing agreements. Thus, all

Defendant entities within the corporate families were active, knowing participants in the

conspiracy to maintain supra-competitive prices.

IV.     JURISDICTION AND VENUE

        31.     The Court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1332(d),

1337(a), and 1367. The Court has jurisdiction over Plaintiff’s claim for injunctive relief under

Section 16 of the Clayton Act, 15 U.S.C. § 26.

        32.     This Court has personal jurisdiction over Defendants because they purposefully

directed their business activity toward this jurisdiction and had substantial contacts with this


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jurisdiction, and because Plaintiffs’ claims for relief arise from and relate to illegal acts committed

by Defendants within this jurisdiction.

        33.     Venue is proper in this district under 28 U.S.C. §§ 1391(a), (b), (c), and (d), and 15

U.S.C. §§ 15(a) and 22. During the Class Period (defined below), Defendants transacted business

in this District, and a substantial portion of the activity at issue here occurred in this District.

        34.     Defendants’ conduct alleged herein occurred within the flow of interstate

commerce, including in this District, and was intended to and did have a direct and substantial

effect upon such commerce.

        35.     During the Class Period, Defendants manufactured, sold, and shipped Tires in a

continuous and uninterrupted flow of interstate commerce, which included sales of Tires in this

District, advertisement of Tires in media in this District, and employment of sales personnel in this

District. Defendants’ conduct had and continues to have a direct, substantial, and reasonably

foreseeable effect on interstate commerce, including commerce within this District.

V.      FACTUAL ALLEGATIONS

                A. The Tires Market

        36.     Virtually all wheeled land vehicles in operation, whether off-road or on-road, use

tires. This dependence makes the tire industry a critical component of the U.S. automobile

industry. With nearly 9.2 million passenger and commercial vehicles being produced and almost

14 million vehicles being sold in the United States in 2022, for example, the U.S. market calls for

a large number of tires to be manufactured annually.




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        37.    Given the critical need for tires in all wheeled land vehicles, automobile tire

manufacturers have existed in the United States as long as there have been cars. For example,

Defendant Goodyear began producing automobile tires in 1899.36

        38.    U.S. tire manufacturing has an annual economic footprint of $170.6 billion.37

According to the United States Tire Manufacturers Association (“USTMA”), there were total U.S.

tire shipments of 334.2 million units in 2023, compared to 332.0 million units in 2022 and 332.7

million units in 2019.38 The market for replacement tires in the United States was sized at

approximately $61 billion in 2022.

        39.    Manufactured tires can either be used in new cars (“Original Equipment Tires” or

“OE” tires) or produced as replacement tires (“Dedicated Replacement Tires”). There are

differences between OE tires and Dedicated Replacement Tires. OE tires are specified by the

vehicle manufacturer and are initially fitted to the vehicle when new. The car manufacturer works

with tire companies to choose a tire that will meet performance requirements for their new vehicle.

The manufacturer selects a tire that balances ride noise, handling, longevity, and fuel efficiency to

achieve the overall characteristics that the vehicle manufacturer believes is important to the end-

user.

        40.    By contrast, Dedicated Replacement Tires are selected by individual consumers.




36
   Company History, Goodyear Corporate,
https://corporate.goodyear.com/us/en/about/history.html.
37
  USTMA July 2024 Forecast Predicts Higher 2024 Tire Shipments for U.S. Tire Market, U.S.
Tire Manufacturers Ass’n, https://www.ustires.org/ustma-july-2024-forecast-predicts-higher-
2024-tire-shipments-us-tire-market.
38
   2023 Tire Shipment Outlook, U.S. Tire Manufacturers Ass’n (Feb. 28, 2023),
https://www.ustires.org/2023-tire-shipment-outlook.


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         B.      Defendants’ Participation in the Tires Market

         41.     Defendants make up some of the largest tire manufacturers in the world.

Bridgestone is the world’s largest tire and rubber manufacturer,39 with about 130 manufacturing

plants and R&D facilities in 25 countries and sells products in more than 150 countries worldwide.

Michelin has nine R&D centers around the world, 123 production sites in 26 countries, a

commercial presence in 170 countries and 125,000 employees worldwide, and does business on

every continent.40 Goodyear employs about 72,000 people and manufactures its products in 57

facilities in 23 countries around the world.41 Pirelli has 18 factories located in 12 countries,

production capacity in 2022 of 74 million car tires, and points of sale in over 160 countries (around

20,000 in 2022).42 Continental employs almost 200,000 people at 519 locations for production,

research, and development, and is present in 57 countries and markets. It has 917 company-owned

tire outlets and a total of around 5,228 franchises and operations with a Continental brand.43

         42.     The U.S. Tires market is oligopolistic, with three of Defendants controlling nearly

all the market: in 2022, Defendants Bridgestone, Michelin, and Goodyear made up almost 64

percent of the entire replacement tire market. Each of the Big Three also encompasses subsidiary




39
     Bridgestone Corp., https://www.bridgestone.com/.
40
  A Global Footprint, Michelin, https://www.michelin.com/en/michelin-group/about-us/global-
footprint/.
41
     Our Company, Goodyear Corporate, https://corporate.goodyear.com/us/en/about.html.
42
 Pirelli in Brief, Pirelli Corporate, https://corporate.pirelli.com/corporate/en-
ww/aboutus/pirelli-in-brief.
43
   Continental Group, 2022 Annual Report, at 26,
https://cdn.continental.com/fileadmin/__imported/sites/corporate/_international/english/hubpage
s/30_20investors/30_20reports/annual_20reports/downloads/continental_annual_report_2022.pd
f.


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brands: (i) Goodyear: Goodyear, Cooper Tires, Dunlop, and Kelly, (ii) Michelin: Michelin, BF

Goodrich, and Uniroyal, (iii) Bridgestone: Bridgestone and Firestone.44 When the percentages of

Defendants Continental and Nokian are considered, the market dominance of these few firms is

even more clear.




                                             Figure 2.45



           43.   This concentration makes the Tires market more susceptible to cartelization—a

smaller group of competitors is better able to solve the coordination and trust problems that can

prevent cartel formation or destabilize an existing cartel. A smaller number of negotiators makes

it easier for the conspirators to agree on a cartel price, to allocate market shares, to conceal their

collusion, to develop enforcement mechanisms, and to detect and punish cheaters.




44
  The ‘Goliaths’ of the Replacement Tire Industry Are Getting Bigger. How Can The ‘Davids’
Compete?, TraQline (Feb. 14, 2022), https://www.traqline.com/newsroom/blog/the-goliaths-of-
the-replacement-tire-industry-are-getting-bigger-how-can-the-davids-compete/.
45
     Id.


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           C.    Defendants effectuated the conspiracy by coordinating prices and controlling
                 the supply of Tires during the Class Period.

                 1. Defendants signaled to each other in earnings calls that “price discipline”
                    would remain high and monitored each other’s pricing announcements.

           44.   On November 5, 2021, Goodyear’s CEO, Rich Kramer, stated on the Q3 2021

earnings call: “So we monitor all those tire manufacturers that are out there. And what we've seen

that they've all announced at least three price increases this year….”46

           45.   On February 11, 2021, Rich Kramer stated on the Q4 2021 earnings call: “It’s a

really very, very good constructive pricing environment that we've seen right now, probably the

best in recent memory.”47

           46.   In the same earnings call, Kramer states: “If we could make more, we can actually

even sell more in the environment that we’re seeing.”48

           47.   Goodyear’s public statements during the Class Period acknowledge that they

tracked each other’s competitively sensitive pricing and sales information, which is also consistent

with the existence of Defendants’ unlawful agreement to fix prices. During the 4th Quarter 2021,

earnings call, Darren Wells, Chief Administrative Office of Goodyear, explained, “There are 9

competitors that we tend to track, and 7 out of the 9 have announced price increases in the first




46
          https://seekingalpha.com/article/4466211-goodyear-tire-and-rubber-company-gt-ceo-
richkramer-on-q3-2021-results-earnings-call
47
         https://seekingalpha.com/article/4486435-goodyear-tire-and-rubber-companys-gt-ceo-
richkramer-on-q4-2021-results-earnings-call
48
     Id.


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quarter. And one of the ones who hadn't raised prices right at the end of last year, so we are seeing

very consistent pricing across all the significant industry players.”49

       48.     On the Q3 2022 earnings call, an analyst, Rod Lache, asked Goodyear’s Richard

Kramer, “can you just maybe give us some color on what you're seeing with regard to price

discipline? Do you think that the industry is going to kind of take the tack [sic] of trying to support

pricing and in order to compensate for inflation?” Richard Kramer answered, “So I would say, yes,

I think that there is an acknowledgment of what price and mix has to do in the marketplace to deal

with the environment we're in."50

       49.     During the Q1 2022 earnings call, Continental's CFO, Katja Durrfeld, referred to

sustainable pricing several times, including: "[t]o mitigate the broad inflationary headwinds,

implementation of sustainable pricing is mandatory."51

       50.     On June 17, 2022, Nokian announced that it had "succeeded in implementing price

increases to mitigate cost inflation."52

       51.     During a conference call with investors, Defendant Goodyear’s Chief

Administrative Officer Darren Wells stated, “we’ve got to acknowledge that we’ve got major



49
    Goodyear, Q4 2021 Interim Results Earnings Call Transcript (Feb. 11, 2022),
https://seekingalpha.com/article/4486435-goodyear-tire-and-rubber-companys-gt-ceo-rich-
kramer-on-q4-2021-results-earnings-call.
50
    https://seekingalpha.com/article/4551459-goodyear-tire-and-rubber-co-gt-q3-2022-earnings-
call-transcript.
51
    https://seekingalpha.com/article/4510196-continental-aktiengesellschafts-cttafmanagement-
on-q1-2022-results-earnings-call-transcript.
52
              https://www.reuters.com/business/autos-transportation/finlands-nokian-tyres-lifts-
salesoutlook-despite-russia-uncertainty-2022-
0617/#:~:text=%22However%2C%20tire%20demand%20has%20remained,it%20said%20in%2
0a%20statement.


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competitors who have announced 2 or 3 price increases during calendar year '22. And Goodyear,

North America has announced one increase of up to 12% on January 1. Now the announcements

of our competitors generally have been in lower amounts, but there have been a couple of them

that have been double digits. So we have to acknowledge that. And then if we go back to last year,

Goodyear announced 3 price increases of up to 8% during 2021. And our major competitors

announced 3 or 4 price increases generally as well, some of which were unspecified in amounts,

but most of which were in the mid-single digits. Yes. So those are the announcements that we've

seen.”53

               2. Defendants signaled their intent to increase prices, and they increased
                  prices in lockstep.

       52.     Defendants coordinated price increases and production limitations through public

announcements and statements on earnings calls.

       53.     Michelin led the first wave of price hikes in February 2020, announcing that it

planned to raise prices up to 7% on select passenger and light-truck tires in the United States




53
    Goodyear, Q1 2022 Interim Results Earnings Call Transcript (May 6, 2022),
https://seekingalpha.com/article/4507956-goodyear-tire-and-rubber-company-gt-ceo-rich-
kramer-on-q1-2022-results-earnings-call.


                                               21
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effective March 16, 2020.54 A month later, Goodyear55 and Pirelli56 followed announcing price

hikes up to 5% on select consumer tires in the United States effective April 2020.

        54.      In July 2020, Michelin instructed its competitors that it was “not a period where

you play on prices” (i.e., lowering price).57

        55.      Heeding this call to continued coordinated action, in November 2020, Goodyear

announced price hikes up to 5% on its Goodyear and Dunlop-brand consumer tires in the United

States effective December 1, 2020.58        During its fourth quarter earnings call in February,

Goodyear’s Chairman, President, and Chief Executive Officer remarked that after “9 of 10 of []

consumer tire manufacturers” “announced price increases since November [2020] of about 5% to

8%,” so Goodyear decided to follow suit and “announce up to 5% on our consumer replacement

business . . . .”59


54
        Michelin Implements Price Increase Across North American Passenger Brands for
Selected        Products,       Michelin           Media     (Feb.    14,      2020),
https://michelinmedia.com/pages/blog/detail/article/c/a953/.
55
        Goodyear Will Hike Consumer Tire Prices, MODERN TIRE DEALER (Mar. 3, 2020),
https://www.moderntiredealer.com/industry-news/wholesale-
distribution/article/11533513/goodyear-will-hike-consumer-tire-prices-2020-03-04.
56
        Pirelli Plans Price Hike, MODERN TIRE DEALER (Mar. 10, 2020),
https://www.moderntiredealer.com/suppliers/article/11533540/pirelli-plans-price-hike-2020-03-
11.
57
        Florent Menegaux, CEO, Managing General Partner & Managing Chairman of Michelin,
Remarks at Half Year 2020 Compagnie Generale des Etablissements Michelin SCA Earnings Call
(July 27, 2020) (transcript available in Westlaw).
58
       Goodyear Consumer Tire Prices Are on Their Way Up, MODERN TIRE DEALER (Nov. 13,
2020),      https://www.moderntiredealer.com/topics/industry-news/article/11475914/goodyear-
consumer-tire-prices-are-on-their-way-up-2020-11-13.
59
        Richard J. Kramer, Chairman of the Board, CEO & President of The Goodyear Tire &
Rubber Company, Remarks at Q4 2020 Goodyear Tire & Rubber Co Earnings Call (Feb. 9, 2021)
(transcript available in Westlaw).


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       56.     To ensure that Defendants continued to increase prices in 2021, on December 1,

2020, Bridgestone announced that it would increase prices for select Bridgestone and Firestone

passenger and light truck replacement tires in the United States effective January 1, 2021.60 Less

than a week later, Pirelli announced price increases for car and light truck tires in the United States

effective January 1, 2021 purportedly due to “changing market conditions.”61 On or around

December 19, 2020, Michelin announced plans to raise prices by up to 5% in select Michelin and

BFGoodrich brand passenger and light truck tires in the United States effective February 1, 2021.

Michelin cited to purported “changing business dynamics” as the driving factor of change.62

       57.     A month later, Continental announced its own price hike effective March 1, 2021.63

       58.     In March, Defendant Michelin N.A. announced it would again raise its prices

effective April 1st, in the amount of 8%.64 Defendant Goodyear followed suit: two days after

Defendant Michelin N.A’s announcement, Defendant Goodyear stated it too would be raising its




60
        Bridgestone Will Hike Consumer Tire Prices Next Month, MODERN TIRE DEALER (Dec. 1,
2020), https://www.moderntiredealer.com/topic-category/topics/article/11475613/bridgestone-
will-increase-consumer-tire-prices-next-month-2020-12-01.
61
        Tire Review Staff, Pirelli Announces Price Increase on Car, Light Truck Tires, TIRE
REVIEW (Dec. 3, 2020), https://www.tirereview.com/pirelli-announces-price-increase-on-car-
light-truck-tires/.
62
        Michelin Will Raise Consumer, Commercial Prices on Feb. 1, MODERN TIRE DEALER (Dec.
19, 2020), https://www.moderntiredealer.com/topic-category/topics/article/11475158/michelin-
will-raise-consumer-commercial-prices-on-feb-1-2020-12-19.
63
    Motor Tire Dealer, Continental Plas Price Hike on PLT Tires (Jan. 6, 2021),
https://www.modernTiredealer.com/topics/industry-news/article/11474953/continental-plans-
price-hike-on-plt-Tires-2021-01-06.
64
    Michelin Will Raise Consumer Tire Prices on April 1, Modern Tire Dealer
(https://www.moderntiredealer.com/topiccategory/topics/article/11473824/michelin-will-raise-
consumer-tire-prices-onapril-1-2021-03-01) (March 1, 2021).


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prices by 8% “in response to changing market dynamics in the industry.”65 Within a week,

Defendant Pirelli Tire announced a price increase of its own of 7% due to “changing market

conditions.”66 By the end of March, 2021, Defendant Bridgestone too had announced a price

increase of 8%.67

       59.     In May 2021, Goodyear, Continental, Michelin, Pirelli, and Bridgestone each

announced planned price hikes in the United States. Goodyear led the increase on or around May

3, 2021, when it announced prices increases up to 8% on its Goodyear, Dunlop, and Kelly

consumer tires effective June 1, 2021.68 That same week, Continental announced price increases

by an undisclosed amount on certain Continental and General brand passenger and light truck tires

effective July 1, 2021.69 On or around May 17, 2021, Michelin also announced plans to raise prices

by up to 6% on Michelin, BFGoodrich, and Uniroyal passenger and light truck replacement tires




65
      Goodyear     to   Increase   Consumer       Tire   Prices,   Modern     Tire    Dealer
(https://www.moderntiredealer.com/topics/industrynews/article/11473768/goodyear-to-increase-
consumer-tire-prices-2021-03-03) (March 3, 2021).
66
     Pirelli Will Raise Prices in U.S. on April 15, Modern Tire Dealer
(https://www.moderntiredealer.com/topic-category/topics/article/11473594/pirelliwill-raise-
prices-in-us-on-april-15-2021-03-09) (March 9, 2021).
67
    Bridgestone to Raise Consumer Tire Prices on May 1, Modern Tire Dealer
(https://www.moderntiredealer.com/site-placement/featured-
stories/article/11473222/bridgestone-to-raise-consumer-tire-prices-on-may-1-2021-03-24)
(March 24, 2021).
68
       Goodyear Plans Another Consumer Tire Price Hike, MODERN TIRE DEALER (May 3,
2021),      https://www.moderntiredealer.com/topics/industry-news/article/11472039/goodyear-
plansanother-consumer-tire-price-hike.
69
        Continental Will Raise Consumer Tire Prices in July, MODERN TIRE DEALER (May 5,
2021),     https://www.moderntiredealer.com/topic-category/topics/article/11471940/continental-
willraise-consumer-tire-prices-in-july-1-2021-05-05.


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effective July 1, 2021.70 A day later, Pirelli announced plans to increase prices of passenger and

light truck tires by up to 6% effective July 1, 2021.71 On or around May 27, 2021, Bridgestone

announced plans to raise prices on select Bridgestone, Firestone, and Fuzion brand passenger and

light truck tires by up to 8% in the United States effective July 1, 2021.72

       60.     Price increase announcements continued through the rest of 2021. In the first week

of August 2021, Goodyear73 and Michelin74 announced plans to increase prices, again, by up to

8% on passenger and light truck tires effective September 1, 2021. On August 10, 2021, during an

earnings call, Bridgestone’s Global Chief Executive Officer and Representative Executive Officer

announced that he was “certain that [Bridgestone] will raise prices in the second half of the year.”75

He noted that Defendants were all “feeling this same wind” to increase prices and were all “firmly




70
        Michelin Implements Price Increase Across Passenger Brands and Commercial Offers in
North American Market, PR NEWSWIRE (May 17, 2021), https://www.prnewswire.com/news-
releases/michelin-implements-price-increase-across-passenger-brands-and-commercial-offers-in-
north-american-market-301292713.html.
71
        Pirelli Plans Another Price Hike, MODERN TIRE DEALER (May 18, 2021),
https://www.moderntiredealer.com/topics/industry-news/article/11471596/pirelli-plans-another-
price-hike.
72
        Bridgestone Will Hike Consumer Tire Prices in July, MODERN TIRE DEALER (May 27,
2021), https://www.moderntiredealer.com/topic-category/topics/article/11471376/bridgestone-
will-hike-consumer-tire-prices-in-july-2021-05-27.
73
      Goodyear and Cooper Consumer Tire Prices Are Going Up, MODERN TIRE DEALER (Aug.
6,   2021),    https://www.moderntiredealer.com/retail/article/11469453/goodyear-and-cooper-
consumer-tire-prices-are-going-up.
74
       Stephen Goodchild, Michelin announces North America price increases, I&A TYREPRESS
(Aug. 3, 2021), https://www.tyrepress.com/2021/08/michelin-announces-north-america-price-
increases/.
75
        Shuichi Ishibashi, Global CEO, Representative Executive Officer & Director of
Bridgestone Corp., Remarks at Q2 2021 Bridgestone Corp Earnings Presentation (Aug. 10, 2021)
(transcript available in Westlaw).


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working with these winds.”76 Following this statement by Bridgestone’s officer, in the last week

of August and early September, Continental,77Pirelli, and Bridgestone announced that they would

also raise prices on passenger and light truck tires effective October 2021. Bridgestone and Pirelli78

increased prices by up to 8% Pirelli claimed that the increase was due to purported “changing

market conditions.”79

       61.     Closing out the year, in November 2021, Continental announced price increases

that would go into effect in 2022.80 On December 1, 2021 Michelin announced up to 12% price

increases to be effective on January 1, 2022.81 That same day, Bridgestone also announced price

increases on select passenger and light truck replacement tires in the United States effective

January 1, 2022.82 Similarly, Goodyear raised its prices on consumer tires by up to 12%.83




76
       Id.
77
        Danielle Hess, Continental Tire Announces Price Increase, TIRE REVIEW (Aug. 30, 2021),
https://www.tirereview.com/continental-tire-announces-price-increase/.
78
       The Business Report, Pirelli Raising Prices for Fourth Time in 2021, RUBBER NEWS (Aug.
31, 2021), https://www.rubbernews.com/tire/pirelli-raising-us-tire-prices-oct-1.
79
       Id.
80
   Madeline Winer, Continental Tire Announces Price Increases, Tire Review (Nov. 9, 2021),
https://www.Tirereview.com/continental-Tire-announces-price-increase-2/.
81
   PR Newswire, Michelin Implements Price Increase Across Passenger Brands and Commercial
Offers in North American Market (Dec. 1, 2021), https://www.prnewswire.com/news-
releases/michelin-implementsprice-increase-across-passenger-brands-and-commercial-offers-in-
north-american-market-301435108.html.
82
         Bridgestone Plans Consumer Tire Price Hike, MODERN TIRE DEALER (Dec. 1, 2021),
https://www.moderntiredealer.com/retail/article/11468265/bridgestone-plans-2022-consumer-
tire-price-hike.
83
   Goodyear to Raise North America tire prices July 1, Tire Business (June 15, 2022),
https://www.tirebusiness.com/news/goodyear-raise-north-america-tire-prices-july-1.


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          62.    Tire manufacturers announced price increases early in 2022. On January 3, Pirelli

announced up to 10% increases effective January 17.84 On March 1, Continental announced price

increases.85 That same day, Michelin announced 5% increases on passenger and light truck

replacements Tires.86 The next day, Bridgestone announced a 10% price increase.87 Later that

month, Pirelli announced its own 10% price increase.88

          63.    Price increases continued through the spring of 2022. In mid-April, Continental

announced another price increase89 and Nokian announced that it had raised prices in all markets

and would continue to do so.90 On May 2, Michelin announced increases of 5-12%.91 Pirelli




84
   Daneille Hess, Pirelli Announces Price Increases for Car, Light Truck Tires, Tire Review (Jan.
3, 2022), https://www.Tirereview.com/pirelli-price-increases/.
85
   Christian Hinton, Continental Tire Announces Price Increase, Tire Review (Mar. 1, 2022),
https://www.Tirereview.com/continental-Tire-announces-price-increase-3/.
86
   Michelin Priess Release, Michelin Implements Price Increase Across Passenger Brands and
Commercial       Offers     in    North      American       Market      (Mar.   1,    2022),
https://michelinmedia.com/pages/blog/detail/article/c/a1155/#:~:text=Tread%20rubber%20and%
20%20associated%20supplies,2%2C%202022.
87
  Christian Hinton, Bridgestone Price Increase for Consumer Replacement Tires, Tire Review
(Mar. 2, 2022), https://www.Tirereview.com/bridgestone-price-increase-2/.
88
  Christian Hinton, Pirelli Increases Price for Car and Light Truck Tires, Tire Review (Mar. 23,
2022), https://www.Tirereview.com/pirelli-increases-price-for-Tires/.
89
     Tire Business, Conti to raise U.S. Tire prices again                    (Apr.   19,   2022),
https://www.Tirebusiness.com/news/conti-raise-us-Tire-prices-june-1.
90
     Nokian, 2022 Q1 Interim Report Transcript (Apr. 27, 2022), at 3.
91
            Michelin         Press           Release           (May        2,     2022),
https://michelinmedia.com/pages/blog/detail/article/c/a1176/#:~:text=GREENVILLE%2C%20S.
C.%2C%20May%202%2C,commercial%20products%20and%20service%20offers.


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announced another price increase of up to 10% on May 17.92 On June 6, Bridgestone announced

up to 10% price increases.93 And on June 15, Goodyear announced price increases up to 10%.94

       64.     The next quarter, on or around August 26, 2022, Continental announced plans to

increase prices on Continental and General-brand passenger and light truck tires in the United

States, effective October 1, 2022.95 On September 8, 2022, A few weeks later, Bridgestone

announced plans to raise prices by up to 9% for select passenger and light truck tires in the United

States effective October 1, 2022.96

       65.     Defendants announced price increase for 2023 in December of 2022. Michelin

announced a 9% increase effective January 1.97 Bridgestone also announced increased pricing to




92
   Brian Coote, Pirelli to Increase Prices on U.S. PLT Tires, Tire Review (May 17, 2022),
https://www.Tirereview.com/pirelli-increase-prices-plt-Tires/.
93
   Brian Coote, Bridgestone to Increase Consumer Tire Prices in U.S., Canada, Tire Review (Jun.
6,               2022),                https://www.Tirereview.com/bridgestone-increase-prices/;
https://www.Tirebusiness.com/news/goodyear-raisenorth-america-Tire-prices-july-1.
94
   Tire Business, Goodyear to raise North America Tire prices July 1 (Jun. 15, 2022),
https://www.Tirebusiness.com/news/goodyear-raise-north-america-Tire-prices-july-1.
95
        Continental to Hike Consumer Tire Prices, MODERN TIRE DEALER (Aug. 26, 2022),
https://www.moderntiredealer.com/retail/article/11461595/continental-to-hike-consumer-tire-
prices.
96
  Christian Hinton, Bridgestone Announces Price Increases up to 15% on Select Tires, Tire
Review (Sept. 8, 2022), https://www.Tirereview.com/bridgestone-price-increase-3/.
97
  Samuel Grom, Michelin Introduces Price Increases in Canada, U.S., Tire Review (Dec. 13,
2022), https://www.Tirereview.com/michelin-price-increases/.


                                                28
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take effect on January 1, 2023.98 Effective January 15, 2023, Pirelli increased its prices for car and

light truck tires by up to 10%.99

       66.      The following table summarizes Defendants’ price increases on passenger and light

truck replacement tires between 2021 and 2023:

                     Defendants’ Prices Increases During the Class Period

             Defendant      Announcement Date           Effective Date      Price Increase
           Michelin           February 17, 2020        March 16, 2020           up to 7%
           Goodyear             March 3, 2020           April 1, 2020           up to 5%
             Pirelli           March 12, 2020           April 6, 2020           up to 5%
           Goodyear           November 13, 2020       December 1, 2020          up to 5%
          Bridgestone         December 1, 2020         January 1, 2021        undisclosed
             Pirelli          December 3, 2020         January 1, 2021        undisclosed
           Michelin           December 19, 2020        February 1, 2021         up to 5%
          Continental          January 6, 2021          March 1, 2021         undisclosed
           Michelin             March 1, 2021           April 1, 2021           up to 8%
           Goodyear             March 3, 2021           April 1, 2021           up to 8%
             Pirelli            March 9, 2021           April 15, 2021          up to 7%
          Bridgestone          March 24, 2021            May 1, 2021            up to 8%
           Goodyear              May 3, 2021             June 1, 2021           up to 8%
          Continental            May 5, 2021             July 1, 2021         undisclosed
           Michelin             May 17, 2021             July 1, 2021           up to 6%
             Pirelli            May 19, 2021             July 1, 2021           up to 6%
          Bridgestone           May 27, 2021             July 1, 2021           up to 8%
           Michelin            August 3, 2021         September 1, 2021         up to 8%
           Goodyear            August 6, 2021         September 1, 2021         up to 8%
          Continental          August 30, 2021         October 1, 2021        undisclosed
             Pirelli           August 31, 2021         October 1, 2021          up to 8%
          Bridgestone         September 1, 2021        October 1, 2021          up to 8%
          Bridgestone         December 1, 2021         January 1, 2022        undisclosed
           Michelin           December 1, 2021         January 1, 2022         up to 12%
           Goodyear               unknown              January 1, 2022         up to 12%
          Continental         November 9, 2021         January 3, 2022        undisclosed

98
  Samuel Grom, Bridgestone Americas Increases Replacement Tire Prices, Tire Review (Dec. 13,
2022), https://www.Tirereview.com/bridgestone-americas-increased-prices/.
99
  Samuel Grom, Pirelli to Increase Prices for Car and Light Truck Tires, Tire Review (Dec. 12,
2022), https://www.tirereview.com/pirelli-increase-prices-tires/.


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                Pirelli         January 3, 2022      January 17, 2022       up to 10%
              Michelin           March 1, 2022         April 1, 2022         up to 5%
             Continental         March 1, 2022         April 1, 2022       undisclosed
             Bridgestone         March 2, 2022         April 1, 2022        up to 10%
                Pirelli         March 23, 2022         April 11, 2022       up to 10%
             Continental         April 19, 2022         June 1, 2022       undisclosed
              Michelin            May 2, 2022           June 1, 2022          5-12%
                Pirelli          May 17, 2022          June 15, 2022        up to 10%
             Bridgestone          June 6, 2022          July 1, 2022        up to 10%
              Goodyear           June 15, 2022          July 1, 2022        up to 10%
             Continental        August 26, 2022      October 1, 2022       undisclosed
             Bridgestone       September 8, 2022     October 1, 2022         up to 9%
              Michelin         December 1, 2022       January 1, 2023        up to 9%
             Bridgestone       December 2, 2022       January 1, 2023      undisclosed
                Pirelli        December 2, 2022      January 15, 2023       up to 10%


          67.    In the 1st quarter of 2023, Richard J. Kramer, CEO of Goodyear, highlighted that

“over the last 2 years, [Goodyear was] up about 30% in revenue per Tire.”100

          68.    Sales volume did not suffer due to price increases. From 2020, the global Tire

market increased 18% year over year in 2021 to around $180 billion.101 By 2022, demand had

returned in line with 2019 levels. For example, Continental’s sales volume rose by 19.3% in 2022.

Their annual report from that year indicates “agreements reached with customers on price

adjustments and to offset inflation-related effects had a positive impact on the sales performance

of the Automotive group sector.”102




100
     Goodyear, 2023 Q1 Interim Report Earnings Call Transcript (May 5, 2023),
https://finance.yahoo.com/news/q1-2023-goodyear-tire-rubber-012653565.html.
101
      Michelin, 2022 Results at 2.
102
    https://annualreport.continental.com/2022/en/service/docs/annual-report-2022-data.pdf (See
page 73).


                                                30
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            69.   Goodyear’s Chief Administrative Officer Darren Wells has reiterated at earnings

calls that its “increase in the replacement Tire prices more than offset [Goodyear’s] costs.”103

            70.   Despite Defendants’ claims regarding raw material shortages and costs, a

spokesman for Bridgestone Tires reported in May 2022 that the company has not experienced any

production disruptions. “We monitor all critical raw material sand global logistics closely and do

not foresee any impacts to our supply at this time.”104

                  3. Price Coordination through Revenue Management Software

            71.   Price fixing cartels commonly monitor the conduct of the co-conspirators. As noted

by a Former Deputy Assistant Attorney General, in the Antitrust Division, Gary R. Spratling, who

was responsible for investigating and prosecuting international cartels, cartels “have shared a

number of common characteristics.”105 On top of agreed-upon prices and volumes, exchanges of

otherwise competitively sensitive information, and prices charged to customers, a common

characteristic among cartels includes “sophisticated mechanisms to monitor and police the

agreements.”106

            72.   Defendants’ efforts to raise prices became more effective through the use of

revenue management software. At an earnings call in 2022, Rich Kramer, president of Goodyear,



103
     Goodyear, Q1 2022 Interim Results Earnings Call Transcript (May 6, 2022),
https://seekingalpha.com/article/4507956-goodyear-tire-and-rubber-company-gt-ceo-rich-
kramer-on-q1-2022-results-earnings-call
104
   Emmet White, How Tire Manufacturers Averted Crisis—And Kept Rolling, Autoweek (May
27, 2022).
105
   Gary R. Spratling, Deputy Assistant Attorney General, Antitrust Division, U.S. Department of
Justice, ABA’s Criminal Justice Section Presentation “Are the Recent Titanic Fines in Antitrust
Case Just the Tip of the Iceberg?” (Mar. 6, 1998).
106
      Id.


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explained, “Our data analytics enable us to evaluate day-to-day movement in end- market pricing

for ourselves and our competitors, giving us a clear picture of where we are relative to the market

and maximizing our ability to capture value for our business.”107

        73.    Torqata started as an analytic arm of American Tire Distributors, designed to

identify and create efficiencies in Tire distribution. The company was spun off in 2020 with a

mission to allow manufacturers, distributors, and retailers to use data-driven analytics in improving

key areas of business performance. The company’s goal is to help its customers quickly respond

to market trends to drive more revenue. The company’s VP of Business Development, Jill Trotta,

has explained that “[m]anufacturers and distributors can capture demand signals to optimize

inventory and production.”

        74.    In its Pricing Insigts, Torqata touts its ability to assist its customers in revenue and

inventory management through analysis of competitors’ private information:




107
     Goodyear, Q1 2022 Interim Results Earnings Call Transcript (May 6, 2022),
https://seekingalpha.com/article/4507956-goodyear-tire-and-rubber-company-gt-ceo-rich-
kramer-on-q1-2022-results-earnings-call.


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            75.   Lizeo Group sells its Retail Price Pro software to Defendants Bridgestone and

Continental. The software allows the Defendants to filter hundreds of lines of pricing data by part

number, brand, product, size, and speed rating. It then allows its customers to set a pricing strategy

based on competitor prices.

            76.   One “use case” highlighted by Lizeo helping tire manufacturers maintain a

“Minimum Advertised Price for tires.”108 Lizeo notes that tire manufactures face challenges

“implementing and maintaining a Minimum Advertised Price (MAP) policy,” such as

“[e]stablishing the correct MAP pricing policy level for the market,” “[m]onitoring hundreds of

websites for policy compliance,” and “[e]xecuting a notification and escalation process for

violators.”109 So, Lizeo made software that allows users to “[v]iew weekly MAP violation alerts.”

“[p]rocess violations,” and “[t]rigger violation notification according to the assigned Level.”110

            77.   A second revenue management tool the cartel members use is made by Lizeo Group

—which acquired Tire Intelligence in 2015.111 It sells its Retail Price Pro software to Defendants

Bridgestone, Continental, and Michelin. The software allows the Defendants to filter hundreds of

lines of pricing data by part number, brand, product, size, and speed rating. It then allows its

customers to set a pricing strategy based on competitor prices.




108
    Lizeo, Minimum Advertised Price for tires, https://www.lizeo-group.com/en-us/use-
case/minimum-advertised-price-for-tires/.
109
      Id.
110
      Id.
111
      Lizeo, About Us, https://www.lizeo-group.com/en-us/home-us/about-us-us/.


                                                 33
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       78.     One former Michelin employee responsible for pricing in the United States

recounted that Lizeo Group was founded by an “ex-Michelin employee” who started the company

to provide pricing data.

       79.     While Defendants may use different revenue management software, all such

programs allow Defendants to analyze large data sets of competitor pricing information in real

time, allowing Defendants to monitor the conspiracy by ensuring prices remain at

supracompetitive levels.

       80.     Smithers is an Ohio limited liability company with its principal place of business

at 121 South Main Street, Suite 300, Akron, Ohio 44308. Smithers is a multinational provider of

testing, consulting, information, and compliance services and has 24 offices in North America,

Europe, and Asia. In Europe, it has offices in the Netherlands, Italy, and the United Kingdom. Its

clients are “OEMs, tier suppliers, product manufacturers, [and] raw materials suppliers,” among

other companies.

       81.     Smithers was initially founded as a “publisher of scientific reports for the rubber

industry” in 1925. According to its website (www.smithers.com), with respect to the tire industry,

Smithers offers tire technical consulting. Specifically, Smithers “support[s] the tire industry with

analytical data.” It holds itself out as a “[t]hird-party, independent source for confidential data.”

       82.     Since 1925, Smithers has published the Tire Analysis Report, a benchmarking

report covering global tire markets, exclusively for tire manufacturers and raw materials suppliers

to the tire industry. Smithers’ Tire Analysis Reports, which are based on “a targeted selection of

tires from various global manufacturers,” provide its clients with “benchmarking data needed to

make key product development decisions.” These reports also include information regarding, inter

alia, “product management and marketing,” “cost analysis,” and “product benchmarking.”




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Smithers also publishes periodic supplements to its Tire Analyses Reports by region (e.g., North

America, Europe).

       83.     Additionally, Smithers publishes The Smithers Report, a regular email news service

that brings its clients “the latest information on the global tire industry as it happens - including

market insights from the Smithers expert editorial team of journalists, analysts, and scientists.”

Smithers represents that “[t]his subscription service helps global tire and rubber stakeholders stay

informed about industry developments.” As an illustrative example, the January 26, 2024 edition

of The Smithers Report disclosed one tire manufacturer’s increase in daily tire output at its

Philippines plant, the extra cost of importing tires from India during the Red Sea crisis and its

temporal impact on tire shipments to the East Coast of the United States, and the annual amount

of dry rubber, a raw material for tires, exported from Cambodia.

       84.     Besides the Tire Analysis Report and The Smithers Report, Smithers is a prolific

publisher of other reports about the global tire industry for global tire industry participants. For

example, on December 22, 2023, Smithers published The Future of Global Tires to 2028, a report

that analyzes and forecasts the tire market by raw material, tire type, end-use, geographic region,

and leading national market through 2028. This report contains statistical data for the global tire

market by material type, end use, and region.

       85.     Smithers provides its clients access to several additional tools, including the Tire

Database System (TDS), a web-based database system that allows users to view, sort, and export

data for in-depth technical investigations on all reports included in their subscription, and

Component Volume & Weight (CV&W) reports, which include raw material information with

reconstructed formulas.




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          86.   Upon information and belief, many—if not, all—Defendants are Smithers’ clients

and use Smithers’ comprehensive qualitative and quantitative data for business planning purposes.

Specifically, Smithers’ various publications and tools, which include data by tire type, end use,

country, and raw material and by dollar, volume, and market share, facilitated price coordination

by its clients, including Defendants.

          87.   Smithers’ business relationship with Defendants goes back many years. For

example, in 2017, Smithers jointly invested in a new tire testing facility (MTS Flat-Trac CT Plus

Tire Test System) at an existing Smithers’ office (Smithers Tire and Wheel Test Center) in

Ravenna, Ohio, with Defendants Bridgestone, Continental, Goodyear, and Michelin, among

others.

                4. Supply Coordination

          88.   Defendants also began colluding on the supply of Tires in 2020. That year, the

global pandemic shut down many countries, causing a 13% reduction in the amount of driving and

a 23% decline in replacement Tire rates.112

          89.   Despite most manufacturers shutting down production for a few months in 2020,

there was no shortage of Tires on the market in 2020 due to the decrease in demand. Nonetheless,

Defendants ramped up supply to more than make up for the shut downs in production, leading to

excess supply in the market by 2022. As a result, Defendants announced decreases beginning that

year. Goodyear explained that “in order to address softening industry demand and prevent the

buildup of excess inventory, we reduced production in the fourth quarter of 2022 at most of our




112
   Business Wire, Effects of Pandemic Bring Tire Industry to Slow Roll, J.D. Power Finds (Mar.
18, 2021), https://apnews.com/article/business-consumer-products-and-services-diseases-and-
conditions-retail-andwholesale-Tire-retail-3f5b8d0a8eef411bbe57549ee4f911a1.


                                               36
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Tire manufacturing facilities, resulting in a reduction of approximately 3.5 million units compared

to production in the fourth quarter of 2021.”113

         90.    Various statements by Defendants executives emphasized that this “capacity

discipline” had to be exercised collectively by industry members. As Richard Kramer, [CEO] at

Goodyear explained at the 2023 1st Quarter earnings call discussed Goodyear’s “focus on making

sure we’re not putting too many Tires in inventory that could impact negatively that supply-

demand equation.” He further noted that “[t]here’s a lot of manufacturing capacity in the industry.

And like we did with Cooper, we need to think about how we can use that capacity more wisely

as we move ahead.”

         D.     Defendants’ conspiracy worked—Tire prices in the United States increased
                dramatically after long periods of stable pricing.

         91.    For most of the 2010s, the price level of Tires was stable, changing only by small

amounts slowly. Over the last four years, however, the prices of Tires have seen dramatic

increases, driven by lock-step prices increases from the major U.S. Tire manufacturers. For

example, statistics provided by the Federal Reserve Economic Data (FRED) show a spike in the

producer price index by industry for tire manufacturing (except retreading) for pneumatic tires

(which includes passenger, truck, bus, tractor, industrial, and other tires):114




113
      The Goodyear Tire & Rubber Company, Annual Report 2022 (Form 10-K) at 27.
114
   Producer Price Index by Industry: Tire Manufacturing, Except Retreading: Pneumatic Tires
(Including Passenger, Truck, Bus, Tractor, Industrial, and Other Tires) (PCU3262113262110),
U.S. Bureau of Labor Statistics, https://fred.stlouisfed.org/series/PCU3262113262110.


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            92.   This drastic increase in the price index cannot be explained by COVID-19 nor is it

an historical trend. Prices for tires have remained high despite easing inflation and dissipating

effects of the COVID-19 pandemic.115

            93.   And Defendants’ price increases are disproportionate to their increased costs during

the pandemic. For example, in its Q1 2022 earnings call on May 6, 2022, Goodyear’s Chief

Financial Officer, Darren Wells, told investors “[Goodyear’s] increase in the replacement tire

prices more than offset [its] costs.”116

            94.   Sales volume also did not suffer due to price increases, which would normally be

seen in a price-competitive market. For example, Continental’s sales volume rose by 19.3% in

2022. Their annual report from that year states, “agreements reached with customers on price



115
      Id.
116
   The Goodyear Tire & Rubber Company (GT) Q1 2022 Earnings Call Transcript, AlphaStreet
(May 6, 2022), https://news.alphastreet.com/the-goodyear-tire-rubber-company-gt-q1-2022-
earnings-call-transcript/.


                                                   38
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adjustments and to offset inflation-related effects had a positive impact on the sales performance

of the Automotive group sector.”117

        E.     The European Commission conducted “dawn raids” of Defendants’
               businesses and their consulting firm for suspected tires price fixing.

               1. Dawn Raid of Defendants

        95.    On January 30, 2024, the European Commission (“EC’) revealed that it was

carrying out unannounced inspections—also known as “dawn raids”—of tire manufacturers.

Under Article 20 of Regulation 1/2003, the EC is empowered to conduct dawn raids “on the

premises of companies suspected of being in breach of EU Competition rules.”118

        96.    When explaining the basis for the dawn raids, the EC expressed that it had

“concerns that the inspected companies may have violated EU antitrust rules that prohibit cartels

and restrictive business practices . . . [and that] price coordination took place amongst the inspected

companies, including via public communications.”119 The EC stated that the products at issue in

the investigation are new replacement tires for passenger cars, vans, trucks, and buses.

        97.    Shortly after the EC’s announcement, Defendants confirmed that they were

subjects of the investigation. Defendants made the following acknowledgments:

               a.      Bridgestone: “Bridgestone can confirm that the European




117
    Continental Group, 2022 Annual Report, at 73
(https://cdn.continental.com/fileadmin/__imported/sites/corporate/_international/english/hubpage
s/30_20investors/30_20reports/annual_20reports/downloads/continental_annual_report_2022.pd
f.
118
            “Inspections,”         European               Commission,             https://competition-
policy.ec.europa.eu/index/inspections_en.
119
   European Commission, “Commission carries out unannounced antitrust inspections in the tyres
sector” (Jan. 30, 2024), https://ec.europa.eu/commission/presscorner/detail/en/ip_24_561.


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            Commission is conducting an inspection at its European headquarters.”120

                   b.        Goodyear: “We confirm that our European offices were subject to

            unannounced inspections today by the European authorities.”121

                   c.        Continental: “We can confirm that as of today, investigations by

            European antitrust authorities are taking place at Continental in Germany.”122

                   d.        Nokian Tyres: Nokian confirmed EC conducted an unannounced

            inspection at its headquarters in Finland and said, “The European Commission has

            expressed its concerns that the inspected tyre manufacturing companies may have

            violated EU antitrust rules that prohibit cartels and restrictive business

            practices.”123

                   e.        Pirelli: Pirelli confirmed it was under investigation and that it was

            “guaranteeing full support to the authority in the ongoing investigations.”124

                   f.        Michelin: Michelin confirmed “it was included in the EU

            investigation.”125




120
    Andrew Boyce and Tono Gil, “Bridgestone, Goodyear, Continental, Nokian confirm EU
antitrust         dawn          raids.”        mLex         (Jan.          30,        2024),
https://content.mlex.com/#/content/1539333/bridgestone-goodyear-continental-nokian-confirm-
eu-antitrust-dawn-raids-update.
121
      Id.
122
      Id.
123
      Id.
124
   Foo Yun Chee and Ilona Wissenbach, “Pirelli, Continental, Michelin and Nokian targeted in
EU raids,” Reuters (Jan. 31, 2024), https://www.reuters.com/business/autos-transportation/eu-
antitrust-regulators-raid-tyre-makers-concerns-about-possible-cartel-2024-01-30/.
125
      Id.


                                                      40
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               2. Dawn Raid of Consultancy Firm

       98.     Following the dawn raid of Defendants, on June 18, 2024, the EC carried out

unannounced antitrust inspections at the premises of a consultancy firm in two EU countries. The

EC was concerned that the consultancy firm may have violated EU antitrust rules that prohibit

cartels and restrictive business practices.

       99.     According to the EC’s June 18, 2024 press release, the EC’s inspection of the

consultancy firm was “conducted in the context of an investigation for which the [EC] carried out

inspections earlier in 2024.” The EC was concerned “the consultancy firm may have facilitated or

instigated the suspected price coordination amongst [tire] manufacturers, which allegedly also

used public communications channels to collude.”

       100.    Upon information and belief, the dawn raids of Defendants on January 30, 2024

uncovered evidence confirming price coordination among Defendants and revealing the

consultancy firm’s involvement in such coordination, which led to the dawn raid of the consultancy

firm less than six months later.

       F.      Factors corroborating Defendants’ horizontal price-fixing agreement.

       101.    In addition to lock-step price increases, a European Commission investigation, and

a consolidated industry susceptible to collusion, Defendants’ unlawful agreement to fix prices of

Tires is supported by (i) motive and (ii) opportunity, in a market with (iii) high barriers to entry,

(iv) price inelasticity, and (iv) interchangeable products. Defendants are also recidivist bad actors.

               1. Motive

       102.    The steadily rising number of total vehicle miles in the United States and the low

price of rubber created healthy operating conditions for tire manufacturers leading up to the

outbreak of COVID-19. But as measures were put into place to combat the spread of the virus,

domestic travel stopped and then slowed, reducing demand for tires.


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        103.   Investors took note. For example, in February 2022, Goodyear’s stock price

dropped 24% in one day.126 Goodyear’s stock dropped again in November 2022, this time by

10%.127

        104.   To remain profitable, Defendants needed to pass on costs to indirect purchasers,

including ADPs and consumers.

        105.   By 2023, inflation had eased, and supply chain logistics had recovered, but tire

prices remained high, despite excess supply. For example, in November 2023, the president of the

union at the Bridgestone Americas Inc. tire plant in Morrison, Tennessee stated that “Even with []

lower production levels, we still have huge amounts of inventory — more than our warehouse can

handle. Our warehouse is full of truck and bus tires. In addition, we have 150 to 175 trailers on our

plant’s property that are completely full of tires.”128

        106.   In a normal functioning economy, as costs lowered and there was excess supply,

prices would lower too, as inflated prices would lead to a loss of market share. Yet, prices remained

high, as noted above.

               2. Opportunities to collude

        107.   Defendants had numerous opportunities to meet and conspire under the guise of

legitimate business contacts and to perform acts necessary for the operation and furtherance of the


126
    Richard Clough, Goodyear Plunges as the Tiremaker Sees Inflation Pressures in 2022,
Bloomberg News (Feb. 11, 2022), https://www.bnnbloomberg.ca/goodyear-plunges-as-the-
tiremaker-sees-inflation-pressures-in-2022-1.1722126.
127
    Claudia Assis, Goodyear stock drops to lowest level in a month as sales volumes worry Wall
Street, MarketWatch (Nov. 1, 2022), https://www.marketwatch.com/story/goodyear-stock-drops-
to-lowest-level-in-a-month-as-sales-volumes-worry-wall-street-11667317266.
128
   Joy Kopcha, Do Tire Tiers Exist, and Are They Competitive?, Modern Tire Dealer (Nov. 7,
2023), https://www.moderntiredealer.com/suppliers/article/33014539/do-tire-tiers-exist-and-are-
they-competitive.


                                                  42
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conspiracy. At least throughout the Class Period, the Replacement Tire industry provided ample

opportunities for Defendants and/or their parent companies to collude and fix the prices of

Replacement Tires, through trade association meetings and public communications.

                      a.     United States Tire Manufacturers’ Association

       108.   The principal industry association is the United States Tire Manufacturers’

Association (“USTMA”). It is headquartered in Washington, D.C. and its members include

Bridgestone, Continental, Goodyear, Michelin, Nokian, Pirelli and others.

       109.   The leadership of the organization is drawn from the upper ranks of the member

companies. The current Chair is Alexis Garcin, who is also the current Chair and President of

Defendant Michelin North America. Board of Directors members include representation from

Bridgestone Americas, Goodyear, Michelin NAM, Nokian NAM, Hankook, Giti Tires USA,

Pirelli NAM, Continental Americas. Indeed, most board members are directors or officers of

member companies.

       110.   USTMA Board Members include: Paolo Ferrari - former President & CEO of

Bridgestone Americas, current CEO of Bridgestone West; Jochen Etzel - current CEO of

Continental Tire the Americas LLC; Alan Yarcusco - current Vice-President of Government &

Regulatory Affairs and General Counsel Diversified Businesses, Bridgestone Americas; Blake

Eaddy - General Counsel & Secretary at Giti Tire USA; David Reese - VP of Off-Highway

Business Unit, The Good Year Tire & Rubber Company; Rob Williams - current president of

Hankook Tire America Corporation; Nam Hwa (Ed) Cho - current CEO of North & South

Americas Kumho Tires U.S.A, Inc.; David K. Chapman - current Vice-President of public Affairs

at Michelin North America; Tommi Heinonen - current Vice-President at Nokian Tyres North

America; Claudio Zanardo - current President & CEO of Pirelli Tire North America; Darren

Thomas - President & CEO of Sumitomo Rubber Industries, Inc.; James Tsai - General Counsel


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& Corporate Secretary at Toyo Tire Holdings of Americas, Inc.; and Jeff Barna - current President

& CEO at Yokohama Tire Corporation.

          111.   USMTA holds lobbying events that bring industry figures together for multiple

days, including, for example, June 14-16 of 2022 in Washington, D.C. The main purpose of these

events is to visit Senators and Congressional Representatives on issues of concern to the members,

and the multi-day format puts key personnel together with opportunities to speak.

          112.   USMTA also hosts a recycling conference, together with the Scrap Tire Research

and Education Foundation. This is an annual event held in May. There is limited information

regarding attendees other than knowledge that industry leaders and federal and state officials

attend.

                        b.     Tire Manufacturing Ambassadors

          113.   Lobbying efforts are conducted via the Tire Manufacturing Ambassadors, a group

of 12 unidentified individuals each representing one of 12 member companies, including

Defendants Bridgestone, Continental, Goodyear, Michelin.129 In June, annually, the USTMA

sends its 12 ambassadors to visit congress in person, in a visit dubbed the “Capitol Hill fly-in.”

                        c.     Congressional Tire Caucus

          114.   USTMA successfully lobbied in 2019 for the creation of the Congressional Tire

Caucus, a bi-partisan committee, currently co-chaired by Rep. Richard Hudson (R-NC) and Rep.

Emilia Strong Sykes (D-OH). Since its inception, the Congressional Tire Caucus has been chaired

by representatives from states wherein there is large physical presence of major tire manufacturers.

For instance, Bridgestone Americas operates four manufacturing plants in North Carolina and one



129
    2018 USTMA Tire Manufacturing Ambassador Program, U.S. Tire Manufacturers Ass’n
(https://www.ustires.org/2018-ustma-tire-manufacturing-ambassador-program.


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in Ohio; Continental Tires maintains a corporate headquarters in Fairlawn, OH; and Michelin Tires

operates plants in North Carolina and Ohio, with a total of 34 domestic manufacturing plants,

primarily in the southeastern U.S.

                      d.      Tire Industry Association & Global Tire Expo

       115.    Defendants also participate in the Tire Industry Association (TIA). This

organization hosts the Global Tire Expo annually, an event under the umbrella of Specialty

Equipment Market Association (SEMA), a massive auto industry tech expo in Las Vegas.

       116.    Defendant sponsors of the Global Tire Expo are Bridgestone Americas, AME

International, RiteSensor of Bartee USA, Schrader TPMS Solutions, Vogue Tyres, 1800 Every

Rim OEM Wheels, Federated Insurance, Haltee Corporation, Hylant, Merrick Printing, Purcell

Tire & Rubber Company. Prior to the event, there are two days of off-site meetings and events,

beginning with a TIA executive committee meeting, a TIA “Board & Friends” reception by invite

only, with the following day hosting a two day-long events, the Tread Rubber + Tire Repair

Materials Manufacturer’s Group (TRMG) meeting and the Tire Retread & Repair Information

Bureau (TRIB) meeting, with membership meetings, a press conference, the TIA Retail Advisory

Council Meeting, and additional invite only sessions including a TIA Board Lunch. Both in formal

sessions and informally by placing key personnel at the same location, the Global Tire Expo offers

opportunities for the Defendant direct competitors to confer and collude.

       117.    TIA’s board of directors has included the following Defendant personnel: Debra

Hamlin – VP, Director of Operations at Bridgestone and Gary Schroeder, Executive Director of

Global Truck and Bus Tire Business at Cooper Tire/Goodyear.

       118.    TIA has an antitrust policy that, on its face, encourages competitors to walk right

up to the line of impermissible information exchange: discussion of pricing models, methods,

systems, applications, and costs are expressly permitted—as long as actual prices or anything


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which would lead to a consensus on prices are not shared. Further, members are allowed to share

price and fee data if exchanged pursuant to a well-considered plan approved by TIA’s legal

counsel.

        119.   The TIA also lists as resources dozens of other state, regional, national, and

international tire organizations as well as other related industry organizations.

                       e.      Tire Political Action Committee

        120.   TIA also includes a subgroup called the Tire Political Action Committee

(TirePAC), which directly supports election/reelection of desired officials, and makes donations

to them. TirePAC brings key industry figures together for political fundraising events. Very limited

public information is available regarding TIA’s TirePAC. TirePAC provides weekly/monthly

updates surrounding lobbying and legislative efforts, providing a contact to Roy Littlefield IV for

additional information. Anyone can become a basic membes, but the committee is run by an

unknown individual or individuals.

                       f.      Off-the-Road Tire Conference

        121.   The Off-the-Road Tire Conference, organized by the TIA, is held annually. This

event includes sessions on industry insights, professional development, and networking activities.

In 2022, for example, the OTR Tire Conference offered an educational session on the “U.S.

Economic Forecast.”130 Major tire manufacturers and suppliers such as Bridgestone, Goodyear,

Michelin, and Pirelli, regularly attend. Michelin and Goodyear have sponsored the conference.




130
              https://www.tireindustry.org/resources/resources/press-releases/2022/2022-otr-tire-
conference-to-offer-12-educational-sessions/.


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                        g.    European Tyre and Rubber Manufacturers’ Association
                              Events

        122.   The European Tyre and Rubber Manufacturers’ Association (ETRMA) runs a

series of events throughout the year that bring together some of the largest companies operating in

the major European tire markets. Many of the board members in ETRMA are drawn from

companies such as Bridgestone Europe, Continental, Michelin, and Pirelli Tyre. ETRMA’s events

are held with an objective to provide a platform for exchange for top leaders on trends, and the

sharing of knowledge.

                        h.    International Tire Exhibition and Conference

        123.   Rubber News organizes the International Tire Exhibition and Conference (ITEC) –

“the largest tire manufacturing trade show and conference in North America.”131 The 16th such

event took place May 14-16, 2024 in Ohio. Major tire companies, including Bridgestone,

Goodyear, Michelin, and Continental, are regular participants. The 2024 event speakers, for

example, included Michelin’s Vice President of Business to Business Products, Pierluigi Cumo,

Smither’s Vice President of Consultancy, Josh Guilliams, Continental Tire of the America’s LLC’s

Quality Director, Quiana Kee, The Goodyear Tire & Rubber Company’s Compounder Principal,

Jeffery Lin, Bridgestone Tires’ Director of Sustainable Materials and Circular Economy, Bill

Niaura, among others.

                        i.    International Elastomer Conference

        124.   The International Elastomer Conference, organized by Rubber Division, one of 32

divisions in the American Chemical Society, is an annual event focusing on rubber and tire

technology. This conference has been held since at least 2021 and will continue through 2029 in


131
                                   https://web.cvent.com/event/bb938bd3-6a93-44dc-82b8-
424035493b52/websitePage:9613f419-fe0e-42ba-a3a5-bbd718d1d857.


                                                47
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various locations. It provides a venue for tire manufacturers to discuss technological advancements

and industry standards and participate in networking events.

                        j.     Tire Technology Expo

          125.   The Tire Technology Expo is an annual event dedicated to tire design,

manufacturing, and performance. It is “the tire industry’s essential annual event, gathering a global

community of scientists, engineers, academics and professionals . . . .” This expo attracts major

tire manufacturers such as Michelin, Goodyear, Sumitomo, Bridgestone, Continental, and

Pirelli.132 The event’s focus on technological advancements and industry trends provides a

platform for competitors to discuss and potentially align their business practices. It also hosts

sessions related to economics and pricing; next year’s conference has sessions in, for example,

“Global tire industry – outlook and challenges” and “where is the tire market going?”133

                        k.     Tire Society

          126.   Defendants also participate in the Tire Society, primarily a technology and

innovation group, which gives awards. This Society holds events annually in the second week of

September, including 2024, the 43rd annual, at the University of Akron. The 2024 event speakers

include Rob Williams, current President of Hankook Tire America; Tom Ebbott, Vice-President

of Endurica, which provides a niche testing system for the industry, and others.

          127.   The nominating committee for the awards includes Gregory Smith – Quality

Business Leader at Goodyear; Ric Mousseau – Technical Specialist at General Motors; Joerg

Denhert – Director of Tire Contour & Mechanics at Continental AG; Bin Chung – Senior Vice-




132
      See, e.g., https://www.tiretechnology-expo.com/en/awards-2024.php.
133
      https://www.tiretechnology-expo.com/en/conference-program.php.


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President of Technology at Maxxis International; Ron Kennedy – former Managing Director of

the Center for Tire Research and former Research Engineer and Manager at Hankook Tire Co.

       128.    The 2023 nominees included Michelin, Bridgestone Americas, Hankook Tire Co.,

GRI Tires, Continental, Pirelli, Sumitomo, Goodyear, Firestone, and additional niche

manufacturing and technology companies related to the tire industry. Awards are announced at the

event, suggesting that a representative from each nominated company, not just winners, are

typically present.

                      l.     Clemson University Global Tire Industry Conference

       129.    Many Defendant personnel also attend the Clemson University Global Tire

Industry Conference, a five-day conference held in South Carolina in April each year. Each of the

five days is moderated by Clemson University faculty, with the exception of day three, which is

moderated by Dr. Jim Cuttino, current Director of Advanced Engineering & testing at Yokohama

Tires USA. Speakers of the 2024 event included: David Shelton – Director of Industry Relations

at Giti Tire US; David Johansen – Vice-President of Sumitomo Rubber USA; Lashan De Silva –

Carbon Applications Chemist at Continental; Nicole Avramovich – Director of Government &

Regulatory Affairs at Bridgestone; June Satterfield – Director of Industry Standards &

Government Regulations at Michelin; Stephane Cochard – Director of Materials Research at

Michelin.

                      m.     Wolfe Research Global Auto Industry Conference

       130.    Defendants are also present at the Wolfe Research Global Auto Industry

Conference. In 2019, for example, Goodyear’s executive vice president and chief financial officer

provided a business overview and discussed the company’s strategies.




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                        n.     Deutsche Bank Auto Industry Conference

          131.   Deutsche Bank’s Global Auto Industry Conference hosts “senior executives from

leading companies in the automotive industry” to “provide presentations to update you on their

businesses,” as well as “one-on-one / small group meetings.” Participants include, for example,

Continental and Goodyear.

                        o.     The Global Data Service Organization for Tyres and
                               Automotive Components

          132.   Established in January 2022, the Global Data Service Organization for Tyres and

Automotive Components (“GDSO”), is an international non-profit association with the mission of

digitally standardizing tires’ data to share the information with its members. GDSO believes that

“sharing your knowledge is the best way to build benefit for yourself and everyone.”134

          133.   Defendants Michelin, Pirelli, Bridgestone, Continental, and Goodyear are founding

members of GDSO and control GDSO’s board. For example, Jerome Barrand from Michelin

serves as the president of GDSO’s Board of Directors while Marco Spinetto from Pirelli serves as

the Vice President. Bridgestone, Continental, and Goodyear also have their executives serve on

the board.

          134.   To join GDSO, all members must agree to “actively collaborate to the achievement

of the Association’s purpose”—i.e., standardize data so that it can be shared among its members.

          135.   Since its establishment, GDSO holds a general assembly meeting annually. For

example, the 2022 meeting was held on June 7, 2022, the 2023 meeting was held on April 18,

2023, and the 2024 meeting was held on April 3, 2024. Those annual meetings provided

Defendants a forum to meet and discuss pricing.



134
      https://gdso.org/Purpose-and-mission/Purpos-and-Mission.


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                      p.     Traction Summit

       136.   Smithers, a leading testing, consulting, information, and compliance firm, hosts an

annual Traction Summit conference.          Maureen Kline, Vice President Public Affairs &

Sustainability at Pirelli Tire North America, Andrew Thompson, Global General Manager,

Strategic Sustainability at Bridgestone Americas, and Jay Spears, Director of Standards and

Regulation at Continental Tire serve on the advisory board.

       137.   The annual Traction Summit provided a network for Defendants, usual participants

of the summit, to connect and coordinate. For example, the 2022 summit was held in Charlotte,

NC on July 26-27, 2022, with speakers from Goodyear, Bridgestone, Michelin, and Pirelli. The

2023 summit was held in Holiday Inn San Antonio-Riverwalk between May 23 and 25, 2023.

Goodyear, Michelin, Continental, and Bridgestone and others attended.

                      q.     Tire Industry Project

       138.   The Tire Industry Project (“TIP”) is a global CEO-led initiative of leading tire

manufacturers. TIP is currently comprised of 10 leading tire companies that include: Bridgestone,

Continental, Goodyear, Hankook, Kumho, Michelin, Pirelli, Sumitomo Rubber Industries, Toyo

Tires, and Yokohama. Continental, Bridgestone, Goodyear, and Michelin act as co-chairs.

       139.   The CEOs of TIP member companies “meet regularly.” For example, the CEOs of

TIP member companies gathered at the end of October in 2023 to confirm a two-year TIP

workplan. TIP meetings provided Defendants with good opportunities to engage high-level inter-

firm communication and coordinate on pricing and outputs.

                      r.     Other Regional and Mission-Specific Events

       140.   There is also an array of smaller, regional and distributor-organized events that

bring the Defendants’ personnel together.




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        141.    For example, Michelin and Bridgestone delivered a joint perspective on

sustainability in the tire industry at the November 22, 2021 Smithers Recovered Carbon Black

(rCB) Conference.

        142.    The combined effect of industry events is a climate where senior managers know

each other and have frequent opportunities to meet and speak unmonitored.

        143.    Defendants had and have numerous opportunities to meet and conspire under the

guise of legitimate business contacts and to perform acts necessary for the operation and

furtherance of the conspiracy. At least throughout the Class Period, the Tire industry provided

ample opportunities for Defendants and/or their parent companies to collude and fix the prices of

Tires, through trade association meetings and public communications.

        144.    Each of the Defendants is a member of the U.S. Tire Manufacturers Association

(“USTMA”). The USTMA is the national trade association for tire manufacturers that produce

tires in the United States.

        145.    Senior executives from each of the Defendants currently serve on the Board of

Directors of the USTMA.

        146.    The USTMA holds a number of annual conferences and meetings where

Defendants had the opportunity to meet and discuss pricing. For example, the USTMA holds a

spring and fall meeting for its board members annually, including on July 29, 2020,135 October 6,




135
   Henry Willis, USMTA makes changes to its director board, Tire Technology Int’l (Aug. 14,
2020), https://www.tiretechnologyinternational.com/news/business/ustma-makes-changes-to-its-
director-board.html.


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2021,136 January 25, 2022,137 October 6, 2022, April 3-4, 2023,138 and October 11, 2023.139

Minutes from these regular meetings are not available to the public.

        147.   Defendants also closely monitor their conspiracy by tracking the other cartel

members’ pricing and sales information. The monitoring of the pricing and other conduct of co-

conspirators is a common tactic for price-fixing cartels. Revenue management software enables

them to use large data sets that include competitor pricing data to maximize revenues.

        148.   While Defendants may use different software, all revenue management software

programs allow Defendants to analyze and filter large data sets of pricing information at a granular

level and then develop pricing strategies informed by market trends. The programs also allow for

close monitoring of competitors’ pricing.

        149.   One type of revenue management software is sold by Torqata, formerly an analytic

division of American Tire Distributors, which was spun off in 2020. Torqata produces revenue

management software specific to the tire industry so that manufacturers, distributors, and retailers

can use data-driven analytics to quickly respond to market trends and increase revenue. Its Pricing




136
   Kim Kleine, U.S. Tire Manufacturers Ass’n Names Bridgestone’s Paolo Ferrari as Board
Chair, (Oct. 11, 2021), https://www.ustires.org/us-tire-manufacturers-association-names-
bridgestones-paolo-ferrari-board-chair.
137
   USTMA Announces Four New Board Members, Modern Tire Dealer (Jan. 27, 2022),
https://www.moderntiredealer.com/retail/article/11466086/ustma-announces-four-new-board-
members.
138
   USTMA Board of Directors Holds Spring Meeting in Washington, DC, Admits Giti Tire USA
as 12th Member Company, U.S. Tire Manufacturers Ass’n, https://www.ustires.org/ustma-board-
directors-holds-spring-meeting-washington-dc-admits-giti-tire-usa-12th-member-company.
139
   Michelin CEO Named USTMA Chairman, Modern Tire Dealer (Oct. 12, 2023),
https://www.moderntiredealer.com/suppliers/article/33013078/michelin-ceo-named-ustma-
chairman.


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Insights feature allows customers to use an analysis of competitors’ private information to

maximize revenue.

       150.    Lizeo Group’s Retail Price Pro software, which is purchased by at least Defendants

Bridestone and Continental, also gives access to granularized pricing data from competitor

manufacturers. Customers can set a pricing strategy informed by this pricing data.

               3. Industry Structure

       151.    Defendants’ market shares have remained largely static over time (with the

exception of some growth from Goodyear), which is a hallmark of cartel activity. Defendants

dominate the industry with only a few other competitors, whose margins followed similar patterns

as Defendants—perhaps as an indirect beneficiary of the cartel activity.




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               4. Changes in input prices do not explain the increase in the price of tires,
                  and they have not affected Defendants’ profit margins.

        152.   Defendants claimed in recent years that they raised prices in response to input price

increases. “For Michelin, raw materials eat up about 19% of revenue.” Other estimates suggest

that “raw material costs comprise 50%-70% of the cost to manufacture a tire.”140

        153.   The typical raw material cost composition illustrated below has remained stable for

the industry over recent history.




        154.   Not all input commodities have demonstrated rising prices in recent years.

According to J.P. Morgan, carbon black (13% of raw material input cost) rose ~65% from roughly

2020-23, steel cord (10% raw material of input costs) rose ~55% from roughly 2020-23, while




140
   See Bingham et al, “Economic Analysis of the rubber Tire Manufacturing MACT”, Research
Triangle Institute Center for Economics Research, August 2000, p. 2-11; See, also, Park, Jim,
“The High Cost of Tires”, Trucking Info, May 3, 2013.


                                                55
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other inputs (77% of raw material input costs) generally remained stable or fell over the period.

(See below.)141




        155.   J.P. Morgan’s own commodities input index shows that input prices fell

considerably before 2017 and rose significantly, on net, in only 2017, 2021, and 2022. (See below.)




141
   Brinkman, Ryan, Rajat Gupta, Jesus Gonzales Lopez, Josh Patwa, and Yash Beswala, “Monthly
Tire Review, J.P. Morgan, June 28, 2024. (Hereafter, J.P. Morgan).


                                                56
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        156.   Yet, Defendants have maintained gross margins in the 30% range both prior to and

following the start of the conspiracy period (at the beginning of 2020), even in the face of

fluctuating input prices post-COVID.




        Source: BVA Analysis of Bloomberg Data

        157.   Such margin stability implies increases in raw materials and input costs have been

passed through to purchasers.

        158.   Bloomberg Intelligence reports that “The tire industry is largely unique in its ability

to raise prices when raw material costs accelerate, a key benefit for low-margin sales tied to new

passenger vehicles. As raw materials are a significant part of cost, it's no surprise that tire

companies' share prices are inversely correlated with natural rubber futures and oil.”142




142
   Davis, Gillian and Michael Dean, “Tire Makers Can Pass on Material-Price Hikes; Inverse
Share Link,” Bloomberg Intelligence, April 15, 2021.


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       159.    Bloomberg Intelligence continues, “Importantly for sales of low-margin tires found

on new passenger vehicles, mechanisms are in place for manufacturers to adjust prices as input

costs diverge…. For tire makers that hedge, it means increased input prices could take up to six

months to hit their bottom line.”

       160.    Hedging, therefore, would alter tire manufacturers’ need and ability to raise prices

immediately in response to rising input prices. Strategic differences like contract length, volume

requirements, RFQ process constraints, seasonality, and/or escalator clauses in contracts would

de-link the relationship between raw materials prices and financial performance, as noted by

Bloomberg Intelligence. So, while tire manufacturers would be expected to alter prices with raw

materials price fluctuations, they would not all be expected to do so at the same time.

       161.    Bloomberg Intelligence notes that in a competitive industry with price inelasticity

of demand, one would expect to see an inverse correlation between major input prices and tire

manufacturers’ underlying stock prices. Even in the face of price elasticity of demand, one would

still expect the correlation between raw materials input prices and financial performance to be

relatively weak and vary across Defendants because of differing strategic choices among the tire

manufacturers (i.e., hedging, contract terms, volume requirements, etc., mentioned above). In a

perfectly competitive framework, those strategic differences would be expected to create

competitive opportunities and threats among manufacturers such that when and if prices rose

among Defendants, those increases would not be expected to occur in lockstep and/or the

correlation between raw material inputs and tire prices would be less perfect.




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Correlations between Monthly Average Stock Price and Monthly Average Rubber Futures pre and post
January 2020

                   Continental AG     Michelin   Goodyear   Bridgestone      Pirelli     Nokian
Pre-Class Period       0.0583          0.2576     0.2885       0.2343        0.1878      0.2537
Class Period           0.3563          0.8315      0.7056      0.6892        0.7765       0.3905
Change                 0.2980          0.5739      0.4172      0.4549        0.5887       0.1368




                                Source: BVA Analysis of Bloomberg Data

         162.   Prior to the Class Period, that correlation was appropriately weak, averaging 0.2134

and ranging from 0.0583 for Continental AG to 0.2885 for Goodyear. The standard deviation of

those six observations (to the extent it is valid) was 0.0829). (See figure and table.) After the

beginning of the class period, the correlation between raw materials prices and all of the

Defendants stock prices increased considerably, averaging 0.6249 and ranging from 0.3563 for

Continental AG to 0.8315 for Michelin. Thus, individual tire manufacturers’ correlations all rose

considerably after 2020, rising on average 0.4116 (with a standard deviation of those six



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observations, to the extent it is valid, of 0.1721), with increases ranging between 0.1368 for Nokian

and 0.5887 for Pirelli. ALL Defendants correlations increasing significantly at the SAME time

suggests that they all responded much more quickly to raw materials price changes after the

beginning of the class period than before, regardless of the types of strategic differences such as

hedging, contract terms, volume requirements, etc., mentioned above.

        163.   Lacking convergence upon a similar strategic approach, a reasonable rational

explanation for such tightened correlations is collusion that would benefit tire manufacturers by

smoothing financial performance.

        164.   In addition, while raw material prices fluctuate both up and down over time tire

manufacturers’ price changes go only one way: up. Deutsche Bank Securities Inc. reports note that

“generally speaking, inflationary environments are more favorable for tiremakers, as they provide

the industry cover and force discipline to raise prices.”143 That is, tire prices would be correlated

with input price inflation, as represented by manufacturers in the quotes used in the existing

complaint. In a sticky price/collusive environment, however, inflationary shocks allow tire

manufacturers to increase prices then benefit when input prices fall.

               5. Barriers to Entry

        165.   Tire manufacturers face significant entry and exit barriers that lead to market

concentration which facilitates collusion. Barriers to entry include large up-front capital

investments to establish manufacturing plants that can produce tires at scale. For example,

Defendant Nokian recently completed a $360 million manufacturing facility in Dayton,




143
   Rosner, Emmanuel, Winnie Dong, and Conor Waltors, “Dimming outlook for rest of year and
2023,” Deutsche Bank, November 2, 2022.


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Tennessee.144 These manufacturing plants need to be close enough to the end consumers to make

shipping costs not prohibitive, as tires are heavy products. Manufacturing plants must either have

sophisticated and expensive automation or a large and expensive labor force. Established tire

manufacturers have also erected significant intellectual property protections through patented

products.

        166.   As to exit barriers, because a huge amount of investment is required to set up a

manufacturing plant and to shift to new business, it is extremely difficult to exit from the tire

industry. For example, Uniroyal and Goodrich had to merge due to high exit barriers. Thus,

consolidation is more likely than companies going out of business.

        167.   Because the Tires market has high barriers to entry, it is more conducive to

collusion. To maximize long-term profits, the cartel-fixed price must be high enough to warrant

participation in a criminal conspiracy but not so high as to lure new competitors into the market.

When a market is protected by high barriers to entry, conspirators are better able to fix a high price

with less worry that new firms will come into the market and bid the price down. In contrast, firms

may not bother to conspire to fix prices if interlopers cannot be excluded from the market.

               6. Price inelasticity for Tires makes the market susceptible to collusion.

        168.   The price elasticity of demand shows the responsiveness of the quantity demanded

of a good relative to a change in its price. When a seller of goods or services can increase selling

price without suffering a substantial reduction in demand, pricing is considered inelastic. For

example, gasoline has little price elasticity of demand. Drivers will continue to buy as much as

they have to, as will airlines, the trucking industry, and nearly every other buyer.



144
    Nokian Tyres’ North American Factory, Nokian Tyres
(https://www.nokiantires.com/daytonfactory/.


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        169.   Demand elasticity affects whether price fixing is likely to be profitable. When

demand is inelastic, a seller with market power can charge a higher price without losing significant

sales. This market characteristic encourages collusion because rivals can collectively raise price

profitably.

        170.   Tires are highly inelastic because tire replacement is not an option that can be

deferred for long, particularly when a tire is damaged. Further, the cost of replacement Tires makes

up a fraction of the operating cost of a car.

        171.   Furthermore, Tires do not compete with other products in the functional sense;

consequently, there is no inter-industry competition through cross-elasticities of demand. Because

the demand for Tires derives from the need to use the automobile, buyers cannot be induced to buy

more or less of the product in any significant sense through price changes.

        172.   Because the price for Tires is highly inelastic, Defendants were able to and did

collectively raise prices to supracompetitive levels without losing revenue. For example,

Bridgestone America’s chief operating officer reported, "We’re certainly seeing a red-hot

economy that, despite the price increases and inflation, demand still remains quite strong.”145

               7. Tires are standardized products with a high degree of interchangeability.

        173.   Defendants make similar models of Tires for each of the type-categories listed

above (all-season, all-terrain, winter/snow, and summer tires). Within each type-category, Tires

do not differ significantly in quality, appearance, or use. As a result, Tire models are functionally

interchangeable.




145
   Rising tires prices affected by several factors, Tire Business (July 8, 2022),
https://www.tirebusiness.com/news/rising-tire-prices-affected-several-factors.


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        174.    When purchasing a new set of four replacement tires, consumers can choose almost

any brand on the market. Even when consumers are replacing only some of the four tires, they can

use tires from different brands or models so long as certain features, such as tread depth, are

similar.146 Thus, Tire “producers are not likely to be able to deviate much from the competitive

price without losing sales.”147

        175.    When products are interchangeable, the primary way to compete is on the basis of

price. The avoidance of price-based competition is the primary motivation for forming a cartel.

Thus, cartels are more likely when the participants sell interchangeable products. Where a product

like a Tire is interchangeable, economics suggests that cartel behavior is facilitated because, among

other things, cartel members can more easily monitor and detect defections from a price-fixing

agreement.

                8. Defendants are recidivist violators of antitrust laws.

        176.    The U.S. Tire industry for years has been highly concentrated, and there is a history

of antitrust violations by Tire manufacturers.

                        a.        U.S. Department of Justice Antitrust Enforcement

        177.    Automotive Parts: On February 13, 2014, the United States Department of Justice

(“DOJ”) announced that Defendant Bridgestone Corporation had agreed to plead guilty and to pay

a $425 million criminal fine for its role in a conspiracy to fix prices of anti-vibration rubber parts148


146
   Agota Szabo, Should you be mixing tire (brands) on the same vehicle?, Priority Tire (June 17,
2022), https://www.prioritytire.com/blog/should-you-be-mixing-tire-brands-on-the-same-
vehicle/.
147
   Subhrendu K. Pattanayak et al., Economic Analysis of the Rubber Tire Manufacturing MACT,
2-13 (Aug. 2000), https://www.epa.gov/sites/default/files/2020-07/documents/rubber-tire-
mfg_ip_08-2000.pdf.
148
   Like Replacement Tires, which are the subject of this Complaint, anti-vibration rubber parts
are automotive parts. They comprise primarily of rubber and metal and are installed in

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installed in automobiles sold in the United States and elsewhere. Defendant Bridgestone

Corporation and its co-conspirators entered into and engaged in a combination and conspiracy to

suppress and eliminate competition by agreeing to allocate sales of, to rig bids for, and to fix, raise,

and maintain the prices of anti-vibration rubber parts sold to automobile and component

manufacturers in the United States and elsewhere from at least as early as January 2001 and

continuing until as late as December 2008 in violation of the Sherman Act, 15 U.S.C. § 1.

        178.    According to the Criminal Information filed, Defendant Bridgestone and its co-

conspirators carried out the anti-vibration rubber parts conspiracy by:

                a.      participating in meetings, conversations, and other communications to

        discuss the bids, price quotations, and price adjustments to be submitted to Toyota Motor

        Corporation, Nissan Motor Corporation, Fuji Heavy Industries, Ltd., Suzuki Motor

        Corporation, Isuzu Motors, Ltd., and certain of their subsidiaries, affiliates and suppliers

        (collectively, for the purposes of this Section, “Automobile and Component

        Manufacturers”) in the United States and elsewhere;

                b.      agreeing, during those meetings, conversations, and communications, to

        allocate among the companies certain sales of certain anti-vibration rubber parts sold to

        Automobile and Component Manufacturers in the United States and elsewhere;

                c.      agreeing, during those meetings, conversations, and communications, on

        bids, price quotations, and price adjustments to be submitted to Automobile and

        Component Manufacturers in the United States and elsewhere;




suspension systems and engine mounts, as well as other parts of an automobile, to reduce engine
and road vibration.

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                d.      exchanging information on bids, price quotations, and price adjustments to

        be submitted to Automobile and Component Manufacturers in the United States and

        elsewhere, in order to effectuate the agreements;

                e.      submitting bids, price quotations, and price adjustments to Automobile and

        Component Manufacturers in the United States and elsewhere in accordance with the

        agreements;

                f.      selling anti-vibration rubber parts to Automobile and Component

        Manufacturers in the United States and elsewhere at collusive and noncompetitive prices;

        and

                g.      accepting payment for anti-vibration rubber parts sold to Automobile and

        Component Manufacturers in the United States and elsewhere at collusive and

        noncompetitive prices.

        179.    On April 15, 2014, the DOJ announced that a Cleveland federal grand jury returned

an indictment against a then-current executive of Defendant Bridgestone Corporation, Yoshiyuki

Tanaka, and two former executives of Defendant Bridgestone Corporation, Yasuo Ryuto and Isao

Yoshida, for their roles in a conspiracy to fix prices of anti-vibration rubber parts sold in the United

States and elsewhere. Mr. Tanaka, Mr. Ryuto and Mr. Yoshida and their co-conspirators entered

into and participated in a conspiracy to suppress and eliminate competition in the automotive parts

industry by agreeing to allocate sales of, to rig bids for, and to fix, raise, and maintain the prices

of anti-vibration rubber parts sold to automobile manufacturers in the United States and elsewhere

from at least as early as January 2001 and continuing until as late as December 2008 in violation

of the Sherman Act, 15 U.S.C. § 1.




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       180.    According to the Criminal Indictment filed, Mr. Tanaka, Mr. Ryuto and Mr.

Yoshida and their co-conspirators carried out the anti-vibration rubber parts conspiracy by:

               a.     participating in meetings, conversations, and other communications to

       discuss the bids, price quotations, and price adjustments to be submitted to automobile

       manufacturers in the United States and elsewhere;

               b.     agreeing, during those meetings, conversations, and communications, to

       allocate sales of certain anti-vibration rubber parts sold in the United States and elsewhere

       for various automobiles including, but not limited to, the Toyota Tacoma, Camry, Tundra,

       Sequoia, Corolla, Sienna, Venza, and Highlander;

               c.     agreeing, during those meetings, conversations, and communications, on

       bids, price quotations, and price adjustments to be submitted to automobile manufacturers

       in the United States and elsewhere;

               d.     exchanging information on bids, price quotations, and price adjustments to

       be submitted to automobile manufacturers in the United States and elsewhere, in order to

       effectuate the agreements;

               e.     submitting bids, price quotations, and price adjustments to automobile

       manufacturers in the United States and elsewhere in accordance with the agreements;

               f.     selling anti-vibration rubber parts to automobile manufacturers in the

       United States and elsewhere at collusive and noncompetitive prices;

               g.     accepting payment for anti-vibration rubber parts sold to automobile

       manufacturers in the United States and elsewhere at collusive and noncompetitive prices;

       and




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               h.      employing measures to keep their conduct secret, including but not limited

       to using code words and meeting at rented conference rooms.

       181.    On April 16, 2014, the DOJ announced that a former executive of Defendant

Bridgestone Corporation, Yusuke Shimasaki, had agreed to plead guilty and to pay a $20,000

criminal fine and serve 18 months in a United States prison for his role in a conspiracy to fix prices

and rig bids of anti-vibration rubber parts sold in the United States and elsewhere. Mr. Shimasaki

and his co-conspirators participated in a conspiracy to suppress and eliminate competition in the

automotive parts industry by agreeing to allocate sales of, to rig bids for, and to fix, raise, and

maintain the prices of anti-vibration rubber parts sold to automobile and component manufacturers

in the United States and elsewhere from at least as early as January 2001 and continuing until as

late as December 2008 in violation of the Sherman Act, 15 U.S.C. § 1.

       182.    According to the Criminal Information filed, Mr. Shimasaki and his co-conspirators

carried out the anti-vibration rubber parts conspiracy by:

               a.      participating in meetings, conversations, and other communications to

       discuss the bids, price quotations, and price adjustments to be submitted to Automobile and

       Component Manufacturers in the United States and elsewhere;

               b.      agreeing, during those meetings, conversations, and communications, to

       allocate among the companies the supply of certain anti-vibration rubber parts sold in the

       United States and elsewhere;

               c.      agreeing, during those meetings, conversations, and communications, on

       bids, price quotations, and price adjustments to be submitted to Automobile and

       Component Manufacturers in the United States and elsewhere;




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               d.      exchanging information on bids, price quotations, and price adjustments to

        be submitted to Automobile and Component Manufacturers in the United States and

        elsewhere, in order to effectuate the agreements;

               e.      submitting bids, price quotations, and price adjustments to Automobile and

        Component Manufacturers in the United States and elsewhere in accordance with the

        agreements;

               f.      selling anti-vibration rubber parts to Automobile and Component

        Manufacturers in the United States and elsewhere at collusive and noncompetitive prices;

               g.      accepting payment for anti-vibration rubber parts sold to Automobile and

        Component Manufacturers in the United States and elsewhere at collusive and

        noncompetitive prices; and

               h.      employing measure to keep their conduct secret, including but not limited

        to using code words and meeting at rented conference rooms.

        183.   Marine Hoses: On September 15, 2011, the DOJ announced that Defendant

Bridgestone Corporation had agreed to plead guilty and to pay a $28 million fine for its role in

conspiracies to rig bids and to make corrupt payments to foreign government officials in Latin

America related to the sale of marine hose149 and other industrial products manufactured by the

company and sold throughout the world.

        184.   According to the Criminal Information filed, Defendant Bridgestone and its co-

conspirators carried out the marine hose conspiracy by:




149
   Marine hose is a flexible rubber hose used to transfer oil between tankers and storage
facilities.

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         a.      attending meetings and engaging in discussions in the United States and

  elsewhere by telephone, facsimile and electronic mail regarding the sale of marine hose;

         b.      agreeing during those meetings and discussions to allocate shares of the

  marine hose market among the conspirators;

         c.      agreeing during those meetings and discussions to a price list for marine

  hose in order to implement and monitor the conspiracy;

         d.      agreeing during those meetings and discussions not to compete for one

  another’s customers, either by not submitting prices or bids to certain customers or by

  submitting intentionally high prices or bids to certain customers;

         e.      submitting bids in accordance with the agreements reached;

         f.      providing information received from customers in the United States and·

  elsewhere about upcoming marine hose jobs to a co-conspirator who was not an employee

  of any of the marine hose manufacturers, but who served as the coordinator of the

  conspiracy, acted as a clearinghouse for information to be shared among the conspirators,

  and was paid by the manufacturers for coordinating the conspiracy;

         g.      receiving marine hose prices for customers in the United States and

  elsewhere from the co-conspirator coordinator of the conspiracy;

         h.      selling marine hose to customers in the United States and elsewhere at

  collusive and noncompetitiye prices pursuant to the agreements reached;

         i.      accepting payment for marine hose sold in the United States and elsewhere

  at collusive and noncompetitive prices; and

         j.      concealing the conspiracy and conspiratorial contacts through various

  means, including the use of code names and private email accounts and telephone numbers.




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       185.    On December 10, 2008, the DOJ announced that a then-executive of Defendant

Bridgestone Corporation, Misao Hioki, had agreed to plead guilty and to pay an $80,000 criminal

fine and serve two years in a United States prison for his role in two conspiracies: First, Mr. Hioki

and his co-conspirators participated in a conspiracy to rig bids, fix prices, and allocate market

shares of marine hose in the United States and elsewhere and, second, Mr. Hioki and his co-

conspirators participated in a conspiracy to violate the Foreign Corrupt Practices Act (FCPA) by

making corrupt payments to government officials in Latin America and elsewhere to obtain and

retain business.

       186.    According to the Criminal Information filed, Mr. Hioki and his co-conspirators

carried out the marine hose price-fixing conspiracy by:

               a.      Attending meetings or otherwise engaging in discussions in the United

       States and elsewhere by telephone, facsimile and electronic mail regarding the sale of

       marine hose;

               b.      Agreeing during those meetings and discussions to allocate shares of the

       marine hose market among the conspirators;

               c.      Agreeing during those meetings and discussions to a price list for marine

       hose in order to implement and monitor the conspiracy;

               d.      Agreeing during those meetings and discussions not to compete for one

       another’s customers either by not submitting prices or bids to certain customers or by

       submitting intentionally high prices or bids to certain customers;

               e.      Submitting bids in accordance with the agreements reached;

               f.      Providing information received from customers in the United States and

       elsewhere about upcoming marine hose jobs to a co-conspirator who was not an employee




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        of any of the marine hose manufacturers, but who served as the coordinator of the

        conspiracy, acted as a clearinghouse for information to be shared among the conspirators,

        and was paid by the manufacturers for coordinating the conspiracy;

                g.      Receiving marine hose prices for customers in the United States and

        elsewhere from the co-conspirator coordinator of the conspiracy;

                h.      Selling marine hose to customers in the United States and elsewhere at

        collusive and noncompetitive prices pursuant to the agreements reached;

                i.      Accepting payment for marine hose sold in the United States and elsewhere

        at collusive and noncompetitive prices;

                j.      Authorizing or consenting to the participation of subordinate employees in

        the conspiracy; and

                k.      Concealing the conspiracy and conspiratorial contacts through various

        means, including code names and private email accounts and telephone numbers.

        187.    On November 24, 2014, the DOJ announced that Continental Automotive

Electronics LLC and Continental Automotive Korea Ltd. (subsidiaries of Defendant Continental

AG) had agreed to plead guilty and to pay a $4 million criminal fine for its role in a conspiracy to

fix prices of instrument panel clusters150 installed in automobiles sold in the United States and

elsewhere. Continental Automotive Electronics LLC, Continental Automotive Korea Ltd., and

their co-conspirators entered into and engaged in a combination and conspiracy to suppress and

eliminate competition by agreeing to allocate sales of, to rig bids for, and to fix, raise, and maintain



150
   Like Replacement Tires, which are the subject of this Complaint, instrument panel clusters
are automotive parts. Instrument panel clusters are a set of instruments located on the dashboard
of a vehicle that contain gauges such as a speedometer, tachometer, odometer, and fuel gauge, as
well as warning indicators for gearshift position, seat belt, parking-brake engagement, engine
malfunction, low fuel, low oil pressure and low tire pressure.

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the prices of instrument panel clusters sold to automobile manufacturers in the United States and

elsewhere from as early as March 2004 and continued until May 2012 in violation of the Sherman

Act, 15 U.S.C. § 1.

        188.   According to the Criminal Information filed, Continental Automotive Electronics

LLC and Continental Automotive Korea Ltd. carried out the instrument panel clusters conspiracy

by:

               a.      participating in meetings, conversations, and other communications to

        coordinate bids for instrument panel clusters supplied to vehicle manufacturers for model

        vehicles sold in the United States and elsewhere;

               b.      entering into agreements during those meetings, conversations and

        communications to allocate sales of instrument panel clusters supplied to vehicle

        manufacturers for model vehicles sold in the United States and elsewhere;

               c.      exchanging information on bids, price quotations, and price adjustments for

        submission to vehicle manufacturers in the United States and elsewhere, in order to

        effectuate the agreed-upon allocations;

               d.      coordinating and submitting bids that were the product of collusion for

        instrument panel clusters supplied to vehicle manufacturers for model vehicles sold in the

        United States and elsewhere in accordance with the agreed-upon allocations;

               e.      supplying instrument panel clusters to vehicle manufacturers for model

        vehicles sold in the United States and elsewhere at collusive and noncompetitive prices;

        and




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               f.     accepting payment for instrument panel clusters supplied to vehicle

        manufacturers for certain model vehicles sold in the United States and elsewhere at

        collusive and noncompetitive prices.

                      b.      California Attorney General Enforcement

        189.   In 2019, Defendant Bridgestone Corporation and its subsidiary, Bridgestone APM

Company, a Delaware company with its principal place of business in Findlay, Ohio, and

Continental Automotive Electronics LLC, Continental Automotive Korea Ltd., and Continental

Automotive Systems, Inc. (subsidiaries of Defendant Continental AG) were amongst the 52

automotive suppliers that paid a total of $23 million in settlements for antitrust law violations

brought by the California Attorney General.

                      c.      European Commission Enforcement

        190.   In 2001, the European Commission fined Michelin nearly €20 million “for abusing

its dominant position in replacement tyres for heavy vehicles in France during most of the 90s.”151

Michelin was found guilty of the same behavior in the Netherlands in 1981.

        191.   On February 21, 2018, the European Commission (“EC”) concluded that Defendant

Continental AG and its subsidiaries, Continental Teves AG & Co. oHG and Continental

Automotive GmbH (collectively, for the purposes of this Section, “Continental”), violated the

European Union’s competition law by exchanging information in connection with hydraulic




151
   Commission fines Michelin for abusive commercial behaviour, European Commission (June
20, 2001), https://ec.europa.eu/commission/presscorner/detail/en/IP_01_873.


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braking systems152 and electronic braking systems153 with the aim of coordinating their respective

market behaviors, including pricing practices. For the hydraulic braking systems conspiracy,

Continental was ultimately fined €44,006,000. For the electronic braking systems conspiracy,

Continental was granted immunity from fines as the first to submit information and evidence.

        192.   According to the Commission Decision issued by the EC’s DG Competition,

Continental and its co-conspirators participated in a set of agreements and concerted practices

concerning the exchange of sensitive business information for the purposes of reducing

competitive uncertainty in the area of sales of hydraulic braking system through:

               a.     Participating in meetings, phone conversations, and email correspondences

        to exchange competitively sensitive business information regarding hydraulic braking

        systems with the aim of coordinating their market conduct relating to Daimler AG

        (“Daimler”) and Bayerische Motoren Werke AG (“BMW”);

               b.     Exchanging, during those meetings, phone conversations, and email

        correspondences, information regarding their willingness to accept Daimler’s three-year-

        policy and BMW’s four-year-policy clause154 and discussing Daimler and BMW’s

        purchasing terms and conditions;


152
   Like Replacement Tires, which are the subject of this Complaint, hydraulic braking systems
are automotive parts. Hydraulic braking systems consist of an actuation system and a foundation
system. The actuation system is made up of a brake booster and main brake cylinder, while the
foundation system is made up of a disc brake with saddle or drum brake and wheel brake cylinder.
Hydraulic braking systems use fluid to transfer pressure to the vehicle’s braking mechanism,
slowing the vehicle.
153
   Like Replacement Tires, which are the subject of this Complaint, electronic braking systems
are automotive parts. Electronic braking systems prevent cars from skidding by providing
electronic stability controls when braking (anti-lock braking system or ABS) or under all driving
conditions (electronic stability control or ESC).
154
   In 2008, Daimler asked for price commitments for after-series components. Suppliers were
asked to supply components for three years after the end of production at the same price as during

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                 c.     Exchanging, during those meetings, phone conversations, and email

          correspondences, information concerning Daimler relating to raw material cost

          compensation, cost transparency, and volume reductions; and

                 d.     Exchanging, during those meetings, phone conversations, and email

          correspondences, information with a view to reducing competitive uncertainty for

          Continental and its co-conspirators’ supplies of hydraulic braking systems to Daimler and

          BMW.

          193.   According to the Commission Decision issued by the EC’s DG Competition,

Continental and its co-conspirators participated in a set of agreements and concerted practices

concerning the exchange of sensitive business information for the purposes of reducing

competitive uncertainty in the area of sales of electronic braking system through:

                 a.     Participating in meetings and phone conversations to exchange

          competitively sensitive business information regarding electronic braking systems

          following the issuance of Requests for Quotation (“RFQs”) for the VW’s MLB evo-

          platform;

                 b.     Discussing, during those meetings and phone conversations, their interest

          in the contract for VW’s MLB evo-platform155;

                 c.     Disclosing, during those meetings and phone conversations, their intentions

          for VW’s MLB evo-platform; and




the active series production phase of a given vehicle, hence “three-year policy” or “3YP.” BMW’s
“4YP” (also 4JPB or “4-Jahrespreisbindung”) led to a similar customer request.
155
      This platform is used to produce certain Audi models and the Porsche Macan.


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               d.      Exchanging, during those meetings and phone conversations, competitively

        sensitive business information on their respective offers; and

               e.      Exchanging, during those meetings and phone conversations, information

        with a view of reducing competitive uncertainty for Continental and its co-conspirators’

        supplies of electronic braking systems to VW for the MLB evo-platform.

                       d.     Korea Fair Trade Commission Enforcement

        194.   On December 23, 2013, news sources reported that the Korea Fair Trade

Commission (“KFTC”) fined Continental Automotive Electronics LLC (a subsidiary of Defendant

Continental AG) for conspiring to fix the prices of instrument panel clusters sold between January

2008 and March 2012. The panels were installed on 11 million Hyundai and Kia vehicles. The

KFTC fined Continental Automotive Electronics LLC $46 billion won (approximately $42 million

USD) for its participation in the instrument panel cluster price- fixing conspiracy.

                       e.     Brazilian Administrative Council for Economic Defense
                              Enforcement

        195.   On March 3, 2021, the Brazilian Administrative Council for Economic Defense

(“CADE”) formally initiated proceedings against Continental Teves AG & Co oHG, a subsidiary

of Defendant Continental AG, and certain former employees for the allegedly unlawful exchange

of competition-sensitive information concerning hydraulic brake systems. CADE has not fined

Continental Teves AG & Co oHG yet.

        196.   On August 18, 2010, CADE determined that Continental Brasil Indústria

Automotiva (a subsidiary of Defendant Continental AG) engaged in an “invitation to cartel” with

respect to the commercialization of tachographs156 and imposed a fine of BRL 12.0 million on



156
   The tachograph is the device that records driving times and rest periods as well as periods of
other work and availability taken by the driver of a heavy vehicle.

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Continental Brasil Indústria Automotiva. After multiple appeals, in February 2023, the court of

first instance rendered a verdict against Continental Brasil Indústria Automotiva and lifted the ban

on the enforcement of the fine against Continental Brasil Indústria Automotiva amounting to BRL

34.2 million.

                       f.      South African Competition Authority Enforcement

       197.     On April 4, 2008, the South African Competition Authority (“SACA”) conducted

search and seizure operations at the premises of Bridgestone South Africa (Pty) Ltd. (a subsidiary

of Defendant Bridgestone Corporation), non-Defendant Dunlop Tyres International (Pty) Ltd, and

non-Defendant the South African Tyre Manufacturers’ Conference (“SATMC”), a private

company and association of tire manufacturers. A complaint alleging that the tire manufacturers

had adjusted their prices around the same time and within the same parameters prompted SACA’s

investigation into price-fixing in the tire industry. SACA’s investigation found that SATMC

members used it as a platform for “coffee table discussions” to determine price increases and

general coordination in the market amongst the tire manufacturers.

       198.     These raids resulted in South African’s competition authority issuing fines against

Goodyear South Africa (Pty) Ltd (a subsidiary of Defendant Goodyear Tire and Rubber Company)

and Continental Tyre South Africa (Pty) Ltd (a subsidiary of Defendant Continental AG) of up to

10% of their annual sales, while Bridgestone South Africa (Pty) Ltd. escaped a fine after admitting

to taking part in the alleged cartel and receiving conditional immunity after filing a leniency

application with the regulator.

       199.     In its application for leniency, Bridgestone South Africa (Pty) Ltd. admitted that it

held telephonic discussions and met with its competitors during the period 1999 to 2007 to agree

in principle that they should cooperate to ensure stability in the market. The meetings, which were

attended by the tire manufacturers’ sales and marketing representatives, coordinated the timing


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and the average percentage price increase of tires, agreed on the discount structure to be given to

tire dealers, and messages to be given to the market explaining the increases.

        G.     Defendants’ Conspiracy

        200.   On January 30, 2024, the European Commission said in a press statement that is

carrying out inspections at the premises of various tire manufacturing companies in Member States

related to suspected anticompetitive practices.

        201.   The European Commission stated that it suspects “price coordination took place

amongst the inspected companies,” constituting a secret cartel to fix the prices of “new

replacement t[i]res for passenger cars, vans, trucks and buses.”157

        202.   The European Commission Antitrust Division is running its investigation in

partnership with its counterparts from the relevant national competition authorities of the Member

States where the inspections were carried out, which would include France, Belgium, Germany,

Italy, and Finland.

        203.   The six industry giants confirmed that they were under investigation and were

cooperating with the various competition authorities.

VI.     TOLLING OF THE STATUTE OF LIMITATIONS

        204.   Class member purchases of Tires within four years prior to the filing of this

Complaint are not barred by the applicable four-year statutes of limitations; the statutes need not

be tolled for these claims to be actionable.

        205.   Plaintiffs and the Class did not know and could not have known of Defendants’

illegal conduct until the European Commission announced dawn raids in the tire industry on



157
  Commission carries out unannounced antitrust inspections in the tyres sector, European
Commission (Jan. 30, 2024), https://ec.europa.eu/commission/presscorner/detail/en/ip_24_561.


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January 30, 2024. Before then, Plaintiffs and the Class had no reason to believe that they paid

prices for tires that were affected by Defendants’ illegal conduct, and thus had no duty until then

to investigate the claims set forth in this Complaint. Defendants’ secret price-fixing agreements

were inherently self-concealing.

        206.      Additionally, Defendants engaged in affirmative acts that were designed to mislead

and conceal their illegal conduct. For example, Michelin attributed its 12% price increase on

passenger and light truck replacement tires in 2022 to “market dynamics.”158 Goodyear justified

its July 1, 2022 price increase on consumer tires to rising raw-materials and other inflation-

impacted costs.159 Pirelli justified its April 11, 2022 price increase to “changing market

conditions.”160

        207.      Accordingly, if tolling is necessary to advance some or all of the claims alleged by

Plaintiffs and the Class, the four-year statutes of limitations governing claims under the Sherman

Act were tolled at least until January 30, 2024, under the injury-discovery rule and the doctrine of

fraudulent concealment.




158
   Michelin Implements Price Increase Across Passenger Brands and Commercial Offers in
North American Market, PR Newswire (Dec. 1, 2021), https://www.prnewswire.com/news-
releases/michelin-implements-price-increase-across-passenger-brands-and-commercial-offers-in-
north-american-market-301435108.html.
159
   Goodyear to raise North America tire prices July 1, Tire Business (June 15, 2022),
https://www.tirebusiness.com/news/goodyear-raise-north-america-tire-prices-july-1.
160
   Christian Hinton, Pirelli Increases Price for Car and Light Truck Tires, Tire Review (Mar.
23, 2022), https://www.tirereview.com/pirelli-increases-price-for-tires/.


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VII.     CLASS ACTION ALLEGATIONS

         208.     Pursuant to Federal Rules of Civil Procedure 23(b)(2) and (3), Plaintiffs bring this

 suit on their behalf and on behalf of two proposed classes of all other similarly situated persons

 consisting of:

         Nationwide Injunctive Relief Class (All States)

         All persons or entities who indirectly purchased for resale Tires manufactured by
         any Defendant within a state or territory of the United States of America from
         February 8, 2020 until the anticompetitive effects of Defendants’ unlawful conduct
         cease (the “Class Period”).



         Automobile Dealership and Other Reseller Plaintiffs’ Class

         All residents or citizens of a state or territory of the United States of America whose
         laws permit an indirect purchaser to pursue a claim for anticompetitive conduct
         who indirectly purchased for resale Tires manufactured by any Defendant from
         February 8, 2020 until the anticompetitive effects of Defendants’ unlawful conduct
         cease (the “Class Period”).

         Excluded from each Class are: (a) the Defendant and its officers, directors,
         management, employees, subsidiaries or affiliates; (b) any entity in which the
         Defendant has a controlling interest; (c) any divisions, subsidiaries, and
         predecessors of the Defendant; (d) all governmental entities; (e) the judges in this
         case and any members of their immediate families and judicial staff; (f) any juror
         assigned to this action; (g) all persons who are presently in bankruptcy proceedings
         or who obtained a bankruptcy discharge in the last three years; (h) and all persons
         who are currently incarcerated.

         209.     The Class consists of millions of purchasers residing throughout the United States.

 Accordingly, it would be impracticable to join all Class Members before the Court.

         210.     Plaintiffs’ claims are typical of the claims of the Class Members, in that they share

 the facts above and legal claims or questions with the Class Members, there is a sufficient

 relationship between the damage to Plaintiffs and Defendants’ conduct affecting Class Members,

 and Plaintiffs have no interests adverse to the interests of other Class Members.




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       211.    Under Rule 23(b)(3), there are numerous and substantial questions of law or fact

common to all the members of the Classes and which predominate over any individual issues.

Included within the common question of law or fact are:

               a.      The definition of the relevant product markets;

               b.      Defendants’ market power within the relevant product markets;

               c.      Whether Defendants contracted, combined, or conspired with one another

       to restrain trade of Tires at any time during the Class Period;

               d.      Whether Defendants’ conduct caused the prices of Tires sold to consumers

       to be higher than the competitive level as a result of their restraint of trade

       (supracompetitive prices);

               e.      Whether Plaintiffs and the other Class Members were injured by

       Defendants’ conduct;

               f.      The quantum of overcharges paid by the Classes in the aggregate; and

               g.      and Whether Plaintiffs and Class Members are entitled to, among other

       things, injunctive relief and the nature and extent of such relief.

       212.    Plaintiffs will fairly and adequately protect the interests of Class Members and has

retained counsel experienced and competent in the prosecution of complex class actions including

complex questions that arise in antitrust litigation.

       213.    A class action is superior to other methods for the fair and efficient adjudication of

this controversy, since individual joinder of all Class Members is impracticable and no other group

method of adjudication of all claims asserted here is more efficient and manageable for at least the

following reasons:




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               a.     The liability claims presented predominate over any questions of law or

       fact, if any exist at all, affecting any individual member of the Class;

               b.     Absent certification of the Class, the Class Members will continue to suffer

       damage and Defendants’ unlawful conduct will continue without remedy while Defendant

       profits from and enjoys its ill-gotten gains;

               c.     Given the size of individual Class Members’ claims, few, if any, Class

       Members could afford to or would seek legal redress individually for the wrongs Defendant

       committed against them, and absent Class Members have no substantial interest in

       individually controlling the prosecution of individual actions;

               d.     When the liability of Defendants has been adjudicated, claims of all Class

       Members can be administered efficiently and/or determined uniformly by the Court; and

               e.     This action presents no difficulty that would impede its management by the

       Court as a class action, which is the best available means by which Plaintiffs and Class

       Members can seek redress for the harm caused to them by Defendants.

       214.    Because Plaintiffs seek relief for the entire Classes, the prosecution of separate

actions by individual Class Members would create a risk of inconsistent or varying adjudications

with respect to individual Class Members, which would establish incompatible standards of

conduct for Defendants.

       215.    Further, bringing individual claims would overburden the courts and be an

inefficient method of resolving the dispute, which is the center of this litigation. Adjudications

with respect to individual members of the Classes would, as a practical matter, dispose of the

interest of other members of the Classes who are not parties to the adjudication and may impair or




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  impede their ability to protect their interests. Consequently, class treatment is a superior method

  for adjudication of the issues.

VIII.     CLAIMS FOR RELIEF

                 Count I: Violation of Section 1 of the Sherman Act (15 U.S.C. § 1)

                                          Against all Defendants
                                    (Declaratory and Equitable Relief)

          216.      Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

          217.      The relevant market is the Tires market and the relevant geographic market is the

  United States. Defendants have possessed and continue to hold at least a 65% market share in the

  Tires market in the United States.

          218.      Defendants entered into and engaged in a continuing combination, conspiracy, or

  agreement to unreasonably restrain trade in violation of Section 1 of the Sherman Act (15 U.S.C.

  § 1) by artificially restraining competition with respect to the price of new replacement tires for

  passenger cars, vans, trucks, and buses sold within the United States for the purpose and effect of

  raising prices.

          219.      Defendants’ agreements are transactions in interstate commerce, as are the

  replacement tires themselves, which are delivered using and themselves constitute,

  instrumentalities of interstate commerce.

          220.      Defendants’ agreements are together and individually per se violations of Section

  1 of the Sherman Act. This is in part because the primary objective of the agreements is to force

  prices in the new replacement tires market to increase, maintain or stabilize at levels above what

  would have occurred in a competitive market. In fact, because Defendants achieved that objective,

  the prices for new replacement tires have increased 21.4% in the last few years.




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       221.    Defendants are recidivists and continue to assert that their conduct was legitimate.

The fact that the conduct alleged in this complaint may have ceased at some point does not mean

that Defendants will not engage in similar types of price-fixing in the future.

       222.    Plaintiffs and all others similarly situated have been injured in their business or

property because of Defendants’ violations of Sections 1 of the Sherman Act within the meaning

of Section 4 of the Clayton Antitrust Act, 15 U.S.C. § 15.

       223.    Plaintiffs and all others similarly situated are threatened with future injury to their

business and property because of Defendants’ continuing violation of Section 1 of the Sherman

Act within the meaning of Section 16 of the Clayton Antitrust Act, 15 U.S.C. § 26.

       224.    Pursuant to Federal Rule of Civil Procedure 57 and 28 U.S.C. § 2201(a), Plaintiffs

and the Class seek a declaratory judgment that Defendants’ conduct in seeking to prevent

competition as described in the preceding paragraphs violates Section 1 of the Sherman Act.

       225.    Plaintiffs and members of the Class seek and are entitled to an injunction against

Defendants, preventing and restraining the violations alleged herein.

       226.    For this conduct, Plaintiffs and members of the Class are entitled to treble damages,

injunctive relief, and attorneys’ fees and costs under Section 4 of the Clayton Act (15 U.S.C. § 15)

and 15 U.S.C. § 26.

                          Count II: Violation of State Antitrust Laws

                                     Against all Defendants

       227.    Plaintiffs repeat and incorporate by reference all preceding paragraphs and

allegations.

       228.    On account of the combination, conspiracy, or agreement to unreasonably restrain

trade in the market for Replacement Tires, Defendants have violated, and Plaintiffs and members

of the Class are entitled to relief under, the antitrust laws of the states of Arizona, California,


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Colorado, Connecticut, Hawaii, Illinois, Iowa, Kansas, Maine, Maryland, Michigan, Minnesota,

Mississippi, Nebraska, Nevada, New Hampshire, New Mexico, New York, North Carolina, North

Dakota, Oregon, Rhode Island, South Dakota, Tennessee, Utah, Vermont, West Virginia, and

Wisconsin, as well as the District of Columbia, as follows:

               a.     Ariz. Rev. Stat. Ann. §§ 44-1403, et seq.;

               b.     Cal. Bus. Code §§ 16700, et seq.;

               c.     Colo. Rev. Stat. § 6-4-101, et seq.;

               d.     Conn. Gen. Stat. §§ 35-27, et seq.;

               e.     D.C. Code §§ 28-4503, et seq.;

               f.     Haw. Rev. Stat. §§ 480-2, 480-9, et seq.;

               g.     740 Ill. Comp. Stat. §§ 10/3, et seq.;

               h.     Iowa Code §§ 553.5, et seq.;

               i.     Kan. Stat. Ann. §§ 50-112, et seq.;

               j.     Me. Rev. Stat. Ann. 10 §§ 1102, et seq.;

               k.     MD Code Ann., Com. Law, §§ 11-204, et seq.;

               l.     Mich. Comp. Laws Ann. §§ 445.773, et seq.;

               m.     Minn. Stat. §§ 325D.52, et seq. and Minn. Stat. §§ 8.31, et seq.;

               n.     Miss. Code Ann. §§ 75-21-3, et seq.;

               o.     Neb. Rev. Stat. §§ 59-802, et seq.;

               p.     Nev. Rev. Stat. Ann. §§ 598A.060, et seq.;

               q.     N.H. Rev. Stat. Ann. §§ 356:3, et seq.;

               r.     N.M. Stat. Ann. §§ 57-1-2, et seq.;

               s.     N.Y. Gen. Bus. Law § 340;




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               t.      N.C. Gen. Stat. §§ 75-2.1, et seq.;

               u.      N.D. Cent. Code Ann. §§ 51-08.1-03, et seq.;

               v.      Or. Rev. Stat. §§ 646.730, et seq.;

               w.      R.I. Gen. Laws §§ 6-36-5, et seq.;

               x.      S.D. Codified Laws §§ 37-1-3.2, et seq.;

               y.      Tenn. Code Ann. §§ 47-25-101, et seq.;

               z.      Utah Code Ann. §§ 76-10-3104, et seq.;

               aa.     Vt. Stat. Ann. 9, §§ 2453, et seq.;

               bb.     W.Va. Code §§ 47-18-4, et seq.; and

               cc.     Wis. Stat. §§ 133.03, et seq.

       229.    Plaintiffs and members of the Class have been injured in their business or property

by reason of Defendants’ antitrust violations alleged in herein. Their injuries consist of paying

higher prices for Replacement Tires than they would have paid in the absence of Defendants’

conduct. These injuries are of the type that the antitrust laws were designed to prevent and flow

from Defendants’ conduct unlawful.

       230.    Plaintiffs and the proposed Class seek damages and multiple damages as permitted

by law for their injuries by Defendants’ violation of the aforementioned statutes.

                Count III: Violation of State Unfair and Trade Practices Laws

                                     Against all Defendants

       1.      Plaintiffs incorporates each allegation in the preceding paragraphs of this

Complaint.

       2.      Defendants engaged in unfair competition and unfair/unconscionable or deceptive

acts or practices in violation of the state consumer protection statutes identified below by entering




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into the combination, conspiracy, or agreement to unreasonably restrain trade in the market for

Replacement Tires.

       3.      To the extent deception is required under the state laws below, Defendants

concealed the anticompetitive and unlawful nature of their combination, conspiracy, or agreement

to unreasonably restrain trade in the market for Replacement Tires.

       4.      Accordingly, consumers and other indirect purchasers of Replacement Tires were

induced into purchasing, and will continue to purchase, Replacement Tires at inflated prices.

Plaintiffs and members of the Class could not reasonably have avoided injury from Defendants’

wrongful conduct. This injury is of the type the state consumer protection statutes were designed

to prevent and directly flows from Defendants’ unlawful conduct. Defendants’ conduct occurred

in connection with consumer transactions related to the availability and sale of Replacement Tires.

       5.      Defendants have violated, and Plaintiffs and members of the Class are entitled to

relief under, the Unfair Trade Practices and Consumer Protection Laws of the states of Arkansas,

California, Connecticut, Florida, Idaho, Massachusetts, Missouri, Montana, New Mexico, New

York, North Carolina, Rhode Island, South Carolina, Utah and Vermont, as well as the District of

Columbia, as follows:

               a.       Ark. Code Ann.§§ 4-88-101, et seq.;

               b.       Cal. Bus. & Prof Code §§ 17200, et seq.;

               c.       Conn. Gen. Stat. §42-110a, et seq.;

               d.       D.C. Code §§ 28-3901, et seq.;

               e.       Fla. Stat. §§ 501.201, et seq.;

               f.       Idaho Code §§ 48-601, et seq.

               g.       Mass. Gen. Laws ch. 93A, et seq.;




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               h.      Mo. Rev. Stat. §§ 407.010, et seq.;

               i.      Mont. Code Ann., §30-14-103, et seq., and §30-14-201, et seq.;

               j.      N.M. Stat. Ann. §§ 57-12-1, et seq.;

               k.      N.Y. Gen. Bus. Law §§ 349, et seq.;

               l.      N.C. Gen. Stat. §§ 75-1, et seq.;

               m.      R.I. Gen. Laws §§ 6-13.1-1, et seq.;

               n.      S.C. Code Ann. §39-5-10, et seq.;

               o.      Utah Stat. §§ 13-11-1, et seq.; and

               p.      VT. Stat. Ann., tit. 9, §2451, et seq.

                                 Count IV: Unjust Enrichment

                                      Against all Defendants


       6.      Plaintiffs repeat and incorporate by reference all preceding paragraphs and

allegations.

       7.      Alternatively, from the acts of Defendants as alleged above, Defendants have been

unjustly enriched at the expense of Plaintiffs and members of the Class.

       8.      Through Defendants’ combination, conspiracy, or agreement to unreasonably

restrain trade in the market for Replacement Tires, Defendants have artificially increased the price

of Replacement Tires charged to Plaintiffs and members of the Class.

       9.      Defendants have collected from Plaintiffs and members of the Class artificially high

earnings from the sale of Replacement Tires.

       10.     Defendants have been unjustly enriched by retaining the artificially high earnings

from the sale of Replacement Tires collected from Plaintiffs and members of the Class.




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         11.    The retention of these earnings by Defendants violates the fundamental principles

of justice, equity, and good conscience and should be returned to Plaintiffs and members of the

Class.



IX.      PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs, individually and on behalf of the proposed Class, respectfully

ask the Court for a judgment that:

         12.    Certifies the Class pursuant to Fed. R. Civ. P. 23(a) and 23(b)(3) and directs that

reasonable notice of this action, as provided by Fed. R. Civ. P. 23(c)(2), be given to the Class, and

declares Plaintiffs as representatives of the Class;

                a.      Appoints Plaintiffs and their attorneys as class representatives and class

         counsel, respectively;

                b.      Enters judgment against Defendants, and in favor of Plaintiffs and the Class,

         holding Defendants liable for the antitrust violations alleged;

                c.      Awards a declaratory judgment that Defendants restraint of trade was done

         for illegal, anticompetitive purposes, was an unreasonable restraint of trade, and had

         anticompetitive effects on the U.S. market for Tires in violation of the Sherman Act, § 1.

         Grants permanent injunctive relief:

                        i.        enjoining Defendants from engaging in future anticompetitive

                conduct; and

                        ii.       requiring Defendants to take affirmative steps to dissipate the

                continuing effects of its prior unlawful conduct;




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                  d.      Awards Plaintiffs and the Class actual, double, treble, and exemplary

           damages as permitted and as sustained by reason of the antitrust violations alleged herein,

           plus interest in accordance with law;

                  e.      Awards such equitable relief as is necessary to correct for the

           anticompetitive market effects caused by Defendants’ unlawful conduct, including

           disgorgement, restitution, and the creation of a constructive trust;

                  f.      Awards Plaintiffs and the Class their costs of suit, including reasonable

           attorneys’ fees as provided by law;

                  g.      Directs such further relief as it may deem just and proper.

X.         DEMAND FOR JURY TRIAL

           13.    Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs demand a trial by jury on all issues so

triable.



Dated: August 9, 2024                                 Respectfully submitted,

/s/ Michael J. Flannery (consent)                     /s/ Daniel C. Hedlund (consent)
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